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    1                        UNITED STATES DISTRICT COURT

    2                       CENTRAL DISTRICT OF CALIFORNIA

    3                                      ---

    4               HONORABLE STEPHEN V. WILSON, JUDGE PRESIDING

    5                                      ---

    6

    7

    8     VERNON UNSWORTH,                     )
                                               )
    9                                          )
                                               )
   10                         Plaintiffs,      )
                                               )No. CV 18-8048
   11                VS                        )
                                               )
   12     ELON MUSK,                           )
                                               )
   13                                          )
                              Defendant.       )
   14     _____________________________________)

   15

   16                   Reporter's Transcript of Proceedings
                                JURY TRIAL - DAY TWO
   17                             MORNING SESSION
                              Los Angeles, California
   18                       WEDNESDAY, DECEMBER 4, 2019

   19

   20

   21

   22

   23                      ANNE KIELWASSER, CRR, RPR, CSR
                           Federal Official Court Reporter
   24                      350 WEST 1ST Street, Room 4455
                            Los Angeles, California 90012
   25                         Telephone: (213) 894-2969
                              anne.kielwasser@gmail.com


                             UNITED STATES DISTRICT COURT
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                                                                               2


    1                            A P P E A R A N C E S

    2

    3
          ON BEHALF OF THE PLAINTIFF:
    4
          L Lin Wood
    5     L Lin Wood PC
          1201 West Peachtree Street NW
    6     Atlanta, GA 30309
          404-891-1402
    7     Fax: 404-506-9111
          E-mail: Lwood@linwoodlaw.com
    8
          Matt C Wood
    9     Weisbart Springer Hayes LLP
          212 Lavaca Street Suite 200
   10     Austin, TX 78701
          512-652-5780
   11     Fax: 512-682-2074
          E-mail: Mwood@wshllp.com
   12
          G Taylor Wilson
   13     L Lin Wood PC
          1180 West Peachtree Street
   14     Atlanta, GA 30309
          404-891-1402
   15     Fax: 404-506-9111
          E-mail: Twilson@linwoodlaw.com
   16
          R Christopher Chatham
   17     Chatham Law Group
          3109 West Temple Avenue
   18     Los Angeles, CA 90026
          213-277-1800
   19     E-mail: Chris@chathamfirm.com

   20     Jonathan D Grunberg
          L Lin Wood PC
   21     1180 West Peachtree Street
          Atlanta, GA 30309
   22     404-891-1402
          Fax: 404-506-9111
   23     E-mail: Jgrunberg@linwoodlaw.com

   24

   25     (APPEARANCES CONTINUED ON NEXT PAGE)



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                                                                               3


    1                           A P P E A R A N C E S

    2
          ON BEHALF OF THE PLAINTIFF:
    3

    4     Nicole Jennings Wade
          L Lin Wood PC
    5     1880 West Peachtree Street
          Atlanta, GA 30309
    6     404-891-1402
          Fax: 404-506-9111
    7     E-mail: Nwade@linwoodlaw.com

    8
          ON BEHALF OF THE DEFENDANT:
    9
          Alexander Spiro
   10     Quinn Emanuel Urquhart and Sullivan LLP
          51 Madison Avenue 22nd Floor
   11     New York, NY 10010
          212-849-7000
   12     Fax: 212-849-7100
          E-mail: Alexspiro@quinnemanuel.com
   13
          Michael T Lifrak
   14     Quinn Emanuel Urquhart and Sullivan LLP
          865 South Figueroa Street 10th Floor
   15     Los Angeles, CA 90017
          213-443-3675
   16     Fax: 213-443-3100
          E-mail: Michaellifrak@quinnemanuel.com
   17
          Robert M Schwartz
   18     Quinn Emanuel Urquhart and Sullivan LLP
          865 South Figueroa Street 10th Floor
   19     Los Angeles, CA 90017
          213-443-3675
   20     Fax: 213-443-3100
          E-mail: Robertschwartz@quinnemanuel.com
   21
          William C Price
   22     Quinn Emanuel Urquhart and Sullivan LLP
          865 South Figueroa Street 10th Floor
   23     Los Angeles, CA 90017-2543
          213-443-3000
   24     Fax: 213-443-3100
          E-mail: Williamprice@quinnemanuel.com
   25
          (Appearances continued on next page)


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                                                                               4


    1                           A P P E A R A N C E S

    2     ON BEHALF OF THE DEFENDANT:

    3
          Ellyde R Thompson
    4     Quinn Emanuel Urquhart and Sullivan LLP
          51 Madison Avenue 22nd Floor
    5     New York, NY 10010
          212-849-7000
    6     Fax: 212-849-7100
          E-mail: Ellydethompson@quinnemanuel.com
    7

    8     Jeanine Zalduendo
          Quinn Emanuel Urquhart and Sullivan LLP
    9     865 South Figueroa Street 10th Floor
          Los Angeles, CA 90017-2543
   10     213-443-3000
          Fax: 213-443-3100
   11     Jeaninezalduendo@quinnemanuel.com

   12

   13

   14

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            1   WEDNESDAY, DECEMBER 4, 2019                           9:00 A.M.

            2                                   ~ ~ ~

            3                           JURY TRIAL - DAY TWO

            4                           MORNING SESSION ONLY

08:55:09    5                                  ~ ~ ~

09:11:04    6                THE COURT:   Good morning, everyone.

09:11:05    7                     Before the jury comes back, I did consider

09:11:10    8   the defendant's motion regarding the use of the deposition as

09:11:21    9   argued yesterday, and unfortunately, there was such an

09:11:26   10   avalanche of pleadings filed on Monday, to be frank, your

09:11:32   11   argument got lost among all your other arguments.         We didn't

09:11:37   12   give it as much of an examination as we should have.

09:11:43   13                     But we have now, and I think your argument

09:11:46   14   has merit, and I think there is an effort by the plaintiff to

09:11:57   15   go beyond the pretrial order in the sense that the Court made

09:12:03   16   it clear that the BuzzFeed article is not the subject of

09:12:10   17   defamation in the case.      And I'm forewarning the plaintiff

09:12:20   18   that when it comes to final argument, if there is an effort

09:12:25   19   at blurring, it will be my obligation to straighten it out.

09:12:32   20   And I'll be listening very carefully.

09:12:35   21                     But I haven't had a complete opportunity to

09:12:38   22   look at your motion, and if ultimately it is with merit, I

09:12:46   23   will consider a motion to strike.

09:12:50   24                MR. SPIRO:   Thank you, Your Honor.

09:12:51   25                THE COURT:   That's all I want to say about that



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                                                                                     7


09:12:53    1   now.   Nothing further.    Nothing further.

09:12:57    2                MR. WOOD:    Not on that point, Your Honor.

09:12:59    3                THE COURT:   You got up, and I don't want any

09:13:01    4   comment further at this point.

09:13:02    5                     Now, the other point I want to make, because

09:13:05    6   we are in the examination of Mr. Musk, is that -- when we get

09:13:16    7   to recross, recross doesn't open the floodgates once again.

09:13:22    8   We spent -- I think he started testifying at 1:00 o'clock or

09:13:28    9   thereabouts on -- yesterday, finished at 5:00, it was a full

09:13:33   10   afternoon.    I'm not setting time limits, but there are

09:13:38   11   limits.

09:13:39   12                     So, when Mr. Spiro finishes his direct

09:13:52   13   examination, as I said, there can be recross, but the recross

09:13:55   14   only relates to any new matters that Mr. Spiro raised or any

09:14:02   15   matters that need some amplification.

09:14:06   16                     There may have -- there may be that matter

09:14:11   17   that you brought to my attention at the end of your

09:14:16   18   cross-examination that I said you could raise, escapes me

09:14:22   19   right now, but it's a limited matter.

09:14:25   20                     So, I'm going to bring the jury in here.

09:14:29   21   Let's get to it, make some progress.

09:14:32   22                MR. WOOD:    Your Honor, I have an issue on a

09:14:34   23   different subject matter I want to bring up with you before

09:14:36   24   the jury comes in.

09:14:37   25                THE COURT:   What is it?



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                                                                                     8


09:14:38    1                MR. WOOD:    I want to make a proffer about the

09:14:42    2   Judge's sustaining the objection to the question about

09:14:45    3   whether Tesla would hire a pedophile.        I believe that I can

09:14:55    4   make a proffer for the record, and then the Judge -- you will

09:14:55    5   say "yes" or "no," and then I'll move on, but I need to make

09:14:56    6   a record on it before he steps down.

09:14:58    7                THE COURT:   Don't make it now, because the jury

09:15:00    8   will come back.    I will give you a full opportunity at the

09:15:03    9   next recess to make that proffer.

09:15:05   10                     You may be seated.

09:15:06   11                     Bring the jury in.

09:16:26   12                     We can take appearances.

09:16:27   13                     Can I state for the record, just to avoid the

09:16:31   14   niceties, the parties are present with counsel?

09:16:35   15                MR. SPIRO:   Yes, Your Honor.

09:16:37   16                THE COURT:   Everyone agree?     Okay, done.

09:17:07   17                (Following proceedings were held in the presence

09:17:10   18   of the jury.)

09:17:10   19                THE COURT:   Good morning, members of the jury.

09:17:15   20   Thank you very much for making a special effort on a nasty

09:17:18   21   morning to get here on time.      I noticed that you all were

09:17:21   22   here on time, and everyone appreciates that.

09:17:23   23                     We're ready to resume.

09:17:26   24                MR. SPIRO:   Thank you.

09:17:26   25                DEFENDANT, ELON MUSK, PREVIOUSLY SWORN



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                                                                                     9


09:17:26    1                               DIRECT EXAMINATION

09:17:26    2   BY MR. SPIRO:

09:17:29    3   Q.      Good morning, Mr. Musk.

09:17:30    4   A.      Good morning.

09:17:31    5   Q.      When we left off, we were talking about how you became

09:17:35    6   involved in the rescue operation in Thailand.

09:17:40    7                       Can I ask you, did the Thai authorities know

09:17:42    8   you were coming to help?

09:17:44    9   A.      Yes.

09:17:44   10                  MR. SPIRO:    And I would at this time have the

09:17:47   11   witness take a look at 529.

09:18:02   12                  THE WITNESS:    Shall I look in this book?

09:18:02   13   BY MR. SPIRO:

09:18:05   14   Q.      Yes.

09:18:07   15   A.      Okay.

09:18:08   16                  MR. WOOD:    No objections.

09:18:09   17                  MR. SPIRO:    And we would offer that with no

09:18:11   18   objection from the plaintiff.

09:18:14   19                  THE COURT:    Received.

09:18:15   20              (Exhibit No. 529 admitted into evidence.)

09:18:15   21   BY MR. SPIRO:

09:18:16   22   Q.      563, if you could take a look, Mr. Musk?

09:18:21   23   A.      Yes.    529 and 563.

09:18:27   24                  MR. WOOD:    No objection.

09:18:27   25                  MR. SPIRO:    There is no objection from plaintiff.



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                                                                                      10


09:18:29    1                      THE COURT:   Received.

09:18:30    2                  (Exhibit No. 563 admitted into evidence.)

09:18:30    3     BY MR. SPIRO:

09:18:31    4     Q.        And if you could look, Mr. Musk, at 336?

09:18:40    5                      MR. WOOD:    No objection.

09:18:46    6                      MR. SPIRO:   We would offer 336.   No objection.

09:18:50    7                      THE COURT:   Received.

09:18:51    8                      (Exhibit No. 336 received in evidence.)

09:18:53    9     BY MR. SPIRO:

09:18:53   10     Q.        And then, after you were done assisting in any way you

09:18:57   11     could with the rescue operation, can you take a look at --

09:19:01   12                           Well, did you receive thanks from the

09:19:03   13     government of Thailand?

09:19:05   14     A.        Yes.

09:19:05   15     Q.        Can you take a look at 645?

09:19:13   16     A.        Yes.

09:19:15   17                      MR. SPIRO:   With no objection from plaintiff, I

09:19:18   18     would offer that.

09:19:29   19                      THE COURT:   Don't put it on the screen until there

09:19:32   20     is a --

09:19:32   21                      MR. SPIRO:   I think it was offered without

09:19:33   22     objection.

09:19:34   23                      THE COURT:   All right, then, it's received.

09:19:36   24                      (Exhibit No. 645 received in evidence.)

09:19:37   25                      MR. SPIRO:   And 674.



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                                                                                      11


09:19:41    1     BY MR. SPIRO:

09:19:41    2     Q.      If you could take a look, Mr. Musk?

09:19:44    3     A.      Yes.

09:19:45    4                    MR. WOOD:    No objection.

09:19:46    5                    THE COURT:   Received.

09:19:47    6                    (Exhibit No. 674 received in evidence.)

09:19:48    7     BY MR. SPIRO:

09:19:48    8     Q.      If we could put that briefly up on the screen.

09:19:57    9                         Now, do you --

09:20:02   10                         Can you just tell us briefly who on the

09:20:04   11     ground in Thailand you were in touch with, either by name or

09:20:08   12     designation?

09:20:09   13     A.      We were in touch with a lot of people, but primarily

09:20:14   14     Rick Stanton.

09:20:16   15                    MR. SPIRO:   And then I would ask that 15, I

09:20:18   16     believe, we agreed yesterday that was coming in, be put up on

09:20:23   17     the screen.

09:20:27   18                    (Discussion off the record.)

09:20:38   19                    MR. WOOD:    I have one issue with that document,

09:20:40   20     Your Honor.

09:20:40   21                    THE COURT:   Is there an objection?

09:20:41   22                    MR. WOOD:    Yes, there is.

09:20:43   23                    THE COURT:   One moment.     Let me look at it.

09:21:19   24                    MR. SPIRO:   Your Honor, there is -- we've reached

09:21:20   25     an agreement, if it's okay with the Court.         I'm not going to



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09:21:23    1     show one page on it, and then I would just the witness a

09:21:26    2     couple of questions, and we can address --

09:21:28    3                  THE COURT:   Which page are you not going to show?

09:21:31    4                  MR. SPIRO:   The first page.

09:21:32    5                  THE COURT:   Okay.   It's received except the first

09:21:35    6     page.

09:21:38    7                  (Exhibit No. 15 received in evidence.)

09:21:39    8     BY MR. SPIRO:

09:21:40    9     Q.      If we could go to the last page, not the first page.

09:21:43   10                  MR. WOOD:    Your Honor, there is -- they're

09:21:48   11     displaying something.

09:22:12   12                (Discussion held off the record.)

09:22:12   13     BY MR. SPIRO:

09:22:13   14     Q.      So, if we could go to the page before this, that's up

09:22:16   15     on the screen.    Not -- not that page.

09:22:33   16                       Okay.    So, we're going to do this by Bates

09:22:36   17     number just so it's easier.

09:22:37   18                  THE COURT:   We're now at Exhibit 15, and the

09:22:42   19     exhibit has numbered pages at the bottom.        So, which page are

09:22:46   20     you referring to?

09:22:47   21                  MR. SPIRO:   So, we're going to --

09:23:07   22                       If we could --

09:23:09   23                  (Discussion off the record.)

09:23:12   24                  MR. SPIRO:   I think we've solved the technical

09:23:15   25     issue that plaintiff requested.



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09:23:17    1     BY MR. SPIRO:

09:23:18    2     Q.      So, at the bottom of 15-7 --

09:23:33    3                       Are you there, Mr. Musk?      Where Richard

09:23:36    4     Stanton e-mails you on the 8th of July.

09:23:39    5     A.      Yes.

09:23:40    6     Q.      And can you read what Mr. Stanton wrote to you?

09:23:42    7     A.      "It is absolutely worth continuing with the

09:23:44    8     development of this system in as timely manner as possible --

09:23:50    9     as feasible.    If the rain holds out, it may well be used."

09:23:55   10     Q.      At the time he sent that e-mail, did you understand

09:23:58   11     what his role was in the rescue?

09:24:00   12     A.      I understood that he was the lead of the rescue team.

09:24:08   13     Q.      If you could turn now to 15-3, again, at the bottom of

09:24:27   14     the page.

09:24:36   15     A.      Yes.

09:24:36   16     Q.      And can you read what you wrote to Mr. Stanton on the

09:24:42   17     7th of July?

09:24:44   18     A.      I said:   "Okay, building both a pressure resistant

09:24:52   19     aluminium tube and a dry rubber cocoon.       Baseline requirement

09:24:58   20     is that whether the person is passed out or having a panic

09:25:03   21     attack, it will still be fine.

09:25:04   22                       "Also no stray hoses that can get caught or

09:25:07   23     anything or pulled out.     Basically, a straightjacket with an

09:25:11   24     air feed.   Is this roughly the right direction?"

09:25:15   25     Q.      And if we could go to the 15-2, again, just the bottom



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09:25:20    1     of the page.

09:25:21    2     A.      From "good speaking"?

09:25:24    3     Q.      Yes, your e-mail on July the 7th.

09:25:27    4     A.      On July 7.    "Good speaking.     Earlier today I asked the

09:25:31    5     SpaceX space suit team to build a kid-size dry cocoon with

09:25:38    6     air tank in the nose that slowly breathes the air.         75-minute

            7     capability."

            8                    COURT REPORTER:   Would you slow down, please.

            9                    THE WITNESS:   Im sorry.   Okay.

           10     BY MR. SPIRO:

           11     Q.      Especially on the technical words.

09:25:41   12     A.      Absolutely.    "Good Speaking.    Earlier today, I asked

09:25:48   13     the SpaceX space suit team to build a kid-size dry cocoon

09:25:54   14     with an air tank in the nose that slowly breathes air"

09:25:59   15     parentheses "(75-minute capability) and a vent in the rear.

09:26:03   16                         "As a fallback safety, there is a reg"

09:26:06   17     meaning a regulator "in the pod that Ts off the air tank."

09:26:11   18     It's a T joint is what it means.

09:26:15   19                         "Usable envelope is 5-foot by 1.5-foot with a

09:26:20   20     roughly cigar shape (as you mentioned.)"

09:26:25   21     Q.      If you could turn to 15-5, July 7th e-mail from Rick

09:26:37   22     Stanton to you.

09:26:38   23     A.      Yes.

09:26:39   24     Q.      Can you first read your e-mail and then Mr. Stanton's

09:26:43   25     response.   So, you're reading your e-mail at 10:56 -- again,



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                                                                                      15


09:26:50    1     the time stamps are obviously a bunch of different time

09:26:54    2     zones, but that timestamp, 10:56.       That -- and your e-mail

09:26:59    3     before that is at 16:13.     So you can read your e-mail and

09:27:01    4     then Mr. Stanton's response?

09:27:02    5     A.       Okay.    "Would it be possible to send me video segments

09:27:08    6     or several pictures of most difficult sections?        This will be

09:27:12    7     extremely helpful."

09:27:13    8     Q.       And what was his reply?

09:27:15    9     A.       "We don't have this.     It won't mean anything without

09:27:19   10     scale.   If you make a capsule which tightly encloses a

09:27:25   11     15-year-old boy and no bigger, it will fit through."

09:27:34   12     Q.       And then, just so the jury understands, were there

09:27:39   13     multiple pods or mini subs or just one?

09:27:46   14     A.       There was one rigid, and we also made a flexible

09:27:52   15     submersible as a fallback measure.

09:27:54   16     Q.       And I want you to turn to 15-3, the July 7th e-mail

09:28:04   17     from Rick Stanton.     Did Mr. Stanton indicate to you in this

09:28:13   18     e-mail which mini sub he preferred or he suggested?

09:28:19   19     A.       Yes.    He was unequivocal that he wanted a rigid

09:28:24   20     submersible.     His e-mail is:   "I'm not sure about the rubber

09:28:30   21     cocoon as it would transmit pressure onto the child.         Rigid

09:28:36   22     is better.      Plus 02 as a breathing gas rather than air."

09:28:49   23                         I should say, it was my understanding that he

09:28:52   24     had the best understanding of a cave system since he was the

09:28:56   25     one who found the kids.     That's why I'm all the way there.



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09:29:01    1                (Discussion held off the record.)

09:29:01    2                  MR. WOOD:    I object on Rule 802.    Hearsay.

09:29:20    3                  THE COURT:   Wait, 15-3?

09:29:23    4                  MR. SPIRO:   No, no, we're talking about --

09:29:25    5                  THE COURT:   You can't keep talking to each other,

09:29:30    6     I mean, that's not the protocol.

09:29:31    7                       Offer an exhibit, get a stipulation; and if

09:29:33    8     there isn't any, I'll rule.

09:29:41    9                  MR. SPIRO:   We would offer at this time 548 and --

09:29:49   10     548.

09:30:18   11                  MR. WOOD:    Objection.   Rule of evidence --

09:30:21   12                  THE COURT:   54 -- and what was the other one, 549

09:30:25   13     did you say?

09:30:26   14                  MR. SPIRO:   It's just 548 at this time.

09:30:29   15                  THE COURT:   What's the objection?

09:30:30   16                  MR. WOOD:    I'm sorry, 548 no objection.

09:30:33   17                  THE COURT:   548 is in evidence.

09:30:35   18                  (Exhibit No. 548 received in evidence.)

09:30:39   19                  MR. SPIRO:   And then I would offer 587 and 588.

09:30:58   20                  THE COURT:   I don't have anything in my book for

09:31:02   21     587 and -- 588 I do have.

09:31:07   22                  MR. WOOD:    No objection, Your Honor.

09:31:09   23                  THE COURT:   One moment.    They're received.

09:31:11   24                  (Exhibit Nos. 587 and 588 received in evidence.)

09:31:12   25                  MR. SPIRO:   At this time I'm asking for the



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09:31:18    1     exhibit -- the video to be played, quickly.

09:31:20    2                      THE COURT:   You can on do that.

09:32:13    3                      (Videotape viewed.)

09:33:00    4     BY MR. SPIRO:

09:33:01    5     Q.        Mr. Musk, was that a video of your engineers and the

09:33:05    6     team testing the pod?

09:33:14    7     A.        Yes.

09:33:14    8     Q.        If you could take a look at Exhibit 597.

09:33:27    9     A.        Yes.

09:33:27   10     Q.        Is that a tweet you sent following your visit into the

09:33:37   11     cave?

09:33:38   12     A.        Yes.

09:33:38   13     Q.        And that's an accurate photograph of that tweet?

09:33:43   14     A.        Yes.    At the time I was not -- but yes.

09:33:48   15                      MR. SPIRO:   I would offer 597.

09:33:51   16                      THE COURT:   Received.

09:33:52   17                  (Exhibit No. 597 admitted into evidence.)

09:33:52   18     BY MR. SPIRO:

09:33:52   19     Q.        Can you just read that for the jury.

09:33:54   20                           And if you could put that up on the screen.

09:33:58   21     A.        "Just returned from Cave 3.     Mini sub is ready if

09:34:03   22     needed.    It is made of bracket parts and named Wild Boars

09:34:08   23     after kids' score team.        Leaving here in case it may be

09:34:12   24     useful" -- meaning leaving it here in case it may be useful

09:34:17   25     in the future.       "Thailand is so beautiful."



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09:34:23    1     Q.      And then I'm going to ask you to take a look at 579.

09:34:30    2     A.      Okay.

09:34:33    3     Q.      Do you recognize that?

09:34:35    4     A.      Yes.

09:34:36    5     Q.      And what is that?

09:34:38    6     A.      They're my tweet there, but it says:        "Thanks, but

09:34:44    7     we've not done anything useful yet.         It is all other people."

09:34:44    8                    MR. WOOD:    No objection.

09:34:48    9                    MR. SPIRO:   That's in evidence, if it's okay with

09:34:51   10     the Court?

09:34:53   11                    THE COURT:   It's in evidence.

09:34:54   12                  (Exhibit Nos. 579 admitted into evidence.)

09:34:54   13     BY MR. SPIRO:

09:34:55   14     Q.      I was just asking you --

09:34:56   15     A.      Should I read it?

09:34:58   16     Q.      Read it, please.

09:34:59   17     A.      "Thanks, but we've not done anything useful yet.         It

09:35:03   18     is all other people."

09:35:19   19     Q.      And if you could take a look at 596?

09:35:24   20     A.      Yes.

09:35:26   21     Q.      And can you tell us what that is?

09:35:31   22     A.      Both tweets or just the highlighted one?

09:35:36   23     Q.      Both tweets.

09:35:37   24     A.      Okay.    "Continue to be amazed by the bravery,

09:35:42   25     resilience and tenacity of the kids and diving team in



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09:35:46    1     Thailand.    Human character at its best."       And the next tweet

09:35:51    2     is:   "Great news that they made it out safely.

09:35:56    3     Congratulations to an outstanding rescue team."

09:35:58    4     Q.        And are these accurate tweets?

09:36:01    5     A.        Yes.

09:36:02    6                      MR. SPIRO:   We would offer that.

09:36:04    7                      THE COURT:   Received.

09:36:04    8                  (Exhibit No. 596 received into evidence.)

09:36:04    9     BY MR. SPIRO:

09:36:04   10     Q.        When you left Thailand, did any of your engineers

09:36:07   11     remain behind?

09:36:08   12     A.        Yes, we have probably about 20, 25 engineers remained.

09:36:13   13     Q.        And now that we've taken a look at your tweets, did

09:36:17   14     you try to take credit in any way, shape or form for the

09:36:23   15     rescue operation?

09:36:24   16     A.        No, not at all.

09:36:25   17     Q.        Now, you were asked some questions yesterday, and I'm

09:36:30   18     going to sort of divide this into categories so you can

09:36:34   19     follow.    I'm going to refer to -- when there's people looking

09:36:38   20     for the kids in the cave, the search, and when they're trying

09:36:40   21     to extract the kids by driving in and saving them, the

09:36:42   22     rescue.    Just to make it simple.        Do you understand?

09:36:44   23     A.        Yes.

09:36:44   24     Q.        Okay.    How many people did you understand were

09:36:47   25     involved in the search of the children, approximately, if you



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09:36:50    1     can?

09:36:50    2     A.      It seemed like hundreds.

09:36:52    3     Q.      And how many people did you understand were involved

09:36:55    4     in the actual dive or rescue?      If you have an understanding.

09:37:02    5     A.      You mean the actual divers?      Or how many went in the

09:37:06    6     cave -- how many divers went in the cave?

09:37:09    7     Q.      I'm talking about the divers that -- I'm talking abut

09:37:12    8     the divers, the people that dove under water, saved the kids

09:37:17    9     and extracted them out.

09:37:17   10     A.      Okay.   I think at the beginning it was very small,

09:37:20   11     like, two to four people.      I think Rick Stanton may have been

09:37:24   12     one of the guys, found the kids at the far side of the cave,

09:37:29   13     and then the dive rescue team got a lot bigger after that.           I

09:37:36   14     think it may have been, like, in terms of actual divers, a

09:37:41   15     dozen or so?    I'm not certain of the exact number.       I think

09:37:45   16     there -- I think they're --

09:37:46   17                       I'm not clear on the exact number.       Maybe 10

09:37:48   18     to 20, by the end.

09:37:50   19     Q.      And was it your understanding at any point later, you

09:37:54   20     already testified that when the CNN interview happens and the

09:37:57   21     tweet and response happens, you didn't know who Mr. Unsworth

09:38:03   22     was.   Do you have an understanding now of which role Mr.

09:38:07   23     Unsworth was involved in?

09:38:10   24     A.      It's not -- I don't have a clear understanding, but it

09:38:14   25     sounds like he helped coordinate the British divers coming to



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09:38:21    1     Thailand.     That's my understanding.

09:38:27    2     Q.      Was he a diver?

09:38:31    3     A.      No.

09:38:31    4     Q.      Now, you also received some questions about whether or

09:38:36    5     not there was some criticisms of you or questions raised

09:38:40    6     about the genuineness of your efforts in Thailand.         Do you

09:38:45    7     recall those questions?

09:38:46    8     A.      Yes.

09:38:47    9     Q.      Okay.    Are you criticized frequently, Mr. Musk?

09:38:54   10     A.      All the time.

09:38:55   11     Q.      What was different in your mind about --

09:38:57   12                        Well, can you sort of describe at that point

09:39:00   13     what you believed the criticism was or how prolific it was?

09:39:05   14     I'm saying separate from what Mr. Unsworth did on CNN.

09:39:11   15     A.      I mean, there was some claims in the media that the

09:39:19   16     attempts to help were disingenuous and that maybe doing work

09:39:25   17     or something like that.

09:39:26   18     Q.      What was different -- or what about Mr. Unsworth's

09:39:32   19     interview upset you?

09:39:35   20     A.      Well, he denigrated the efforts of -- of my team.           And

09:39:41   21     there are a lot of people who worked day and night to be

09:39:47   22     helpful, even when they knew that the probability of being

09:39:52   23     helpful was low, and that they cancelled their obligations,

09:39:58   24     you know, left their families behind, just worked day and

09:40:02   25     night to try to be helpful, and he denigrated their efforts



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09:40:06    1     in a way that was completely inappropriate and wrong.

09:40:08    2     Q.      Can you explain that a little bit more?       In terms of

09:40:13    3     the words he used and how you responded to them?

09:40:16    4     A.      Well, he said that it wouldn't work, whereas, we had

09:40:21    5     been told by Rick Stanton, the guy who had actually been on

09:40:26    6     the dive team, the lead diver, that it would work.         So that

09:40:30    7     appeared to be a false statement.

09:40:31    8                         He also said that we were thrown out of the

09:40:34    9     cave, the cave system, which was also a lie.

09:40:38   10     Q.      And what about the manner in which he conducted at the

09:40:41   11     interview?

09:40:43   12     A.      He was --

09:40:44   13                    MR. WOOD:    Objection as leading.

09:40:48   14                    THE COURT:   Overruled.

09:40:50   15     BY MR. SPIRO:

09:40:50   16     Q.      You may continue, Mr. Musk.

09:40:52   17     A.      He was extremely rude and contemptuous.

09:40:59   18     Q.      Now, if we could put up the tweets, which is Exhibit

09:41:04   19     19.   So, now, I understand that this is an exhibit in this

09:41:19   20     case, but how quickly, can you tell the jury, did you delete

09:41:23   21     these tweets?

09:41:24   22     A.      Within hours of publishing them.

09:41:29   23     Q.      Did you delete them as soon as you knew that the media

09:41:32   24     was covering this?

09:41:34   25     A.      Yes.    Well, and -- yes, yes, and -- yeah.      A lot of



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09:41:41    1     people said that, you know, probably you shouldn't write

09:41:44    2     that.   So, I deleted it.

09:41:48    3     Q.      And can you just -- just in your own words, just take

09:41:52    4     the jury through what you tweeted here?

09:41:55    5     A.      Sure.   I mean, rather than read it --

09:41:58    6     Q.      Let me ask you this.     Why don't you --

09:42:01    7                       Yeah, if you could read the first sentence in

09:42:04    8     the way that you meant it.

09:42:06    9     A.      Okay.   Yeah, I'd say this was -- I was -- it was a

09:42:19   10     very much an off-the-cuff response.       "Never saw this British

09:42:24   11     expat guy who lives in Thailand (sus) at any point when we

09:42:30   12     were in the caves."

09:42:30   13     Q.      Let me stop you there.

09:42:30   14     A.      Okay.

09:42:36   15     Q.      The first sentence is:     "Never" -- the first clause

09:42:37   16     is:   "Never saw this British expat guy."

09:42:41   17     A.      Yes.

09:42:41   18     Q.      Do you claim in any of these tweets that you knew a

09:42:47   19     lot about the expat guy?

09:42:51   20     A.      Never heard of him before.      I thought he was just some

09:42:57   21     random expat guy living in Thailand.

09:43:01   22     Q.      And then do you use shorthand in this?

09:43:08   23     A.      Yes.

09:43:09   24     Q.      What does "ob" mean?

09:43:13   25     A.      "Obviously."



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09:43:19    1     Q.        Do you write:       "I challenge this dude"?

09:43:27    2     A.        Yeah.    "I challenge this dude to a show a final rescue

09:43:31    3     video."

09:43:31    4     Q.        Do you yet again give credit to others?

09:43:35    5     A.        Yes.    In fact, this was --

09:43:38    6                           Really the pump and generator team deserve

09:43:44    7     immense credit here.          This rescue would not have happened

09:43:48    8     without that.       And nobody talks about them.

09:43:51    9     Q.        What is:    "No problemo" mean?

09:44:00   10     A.        That's a phrase that Bart Simpson uses in the

09:44:03   11     Simpsons.    I use it as a, sort of, joking phrase, "no

09:44:09   12     problemo."

09:44:09   13     Q.        What is --

09:44:09   14     A.        It's supposed to be cool, I suppose.

09:44:13   15     Q.        What does that mean, though?

09:44:16   16                      MR. WOOD:    Objection, Your Honor.

09:44:18   17                      THE COURT:    Overruled.

09:44:18   18                      THE WITNESS:    It means "no problem."   It's -- it's

09:44:20   19     a, I guess, like, it's sort of joking way of saying:          Yeah --

09:44:29   20     yeah, I mean, you know, it would be easy, no problem.

09:44:33   21     BY MR. SPIRO:

09:44:36   22     Q.        And what does:       "You really did ask for it" mean?

09:44:43   23     A.        Well, he -- "You really did ask for it" means that --

09:44:48   24     it was referring to an unprovoked attack on my team, and me

09:44:57   25     with a bunch of false statements, saying the sub wouldn't



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09:45:02    1     work and that we were thrown out of the cave.

09:45:06    2                         So, you know, he was rude and insulting, and

09:45:10    3     so, you know, I insulted him back.        Just regrettable, but --

09:45:19    4     Q.      And just so that everyone is clear, are you -- did you

09:45:23    5     sue Mr. Unsworth about any of his rude or inappropriate or

09:45:29    6     lie comments?

09:45:30    7     A.      No.

09:45:36    8     Q.      And then --

09:45:39    9                         We have the wrong version, but just for

09:45:41   10     simplicity's sake, the:       "Bet you a signed dollar it's true"

09:45:47   11     what does that mean?

09:45:47   12                    MR. WOOD:    Objection.   Relevance, state of mind.

09:45:51   13                    THE COURT:   Overruled.

09:45:52   14     BY MR. SPIRO:

09:45:52   15     Q.      Can you just explain to the jury what:       "Bet you a

09:45:54   16     signed dollar it's true" means?

09:45:56   17     A.      It just means that might be true, might not be true.

09:46:02   18     It's obviously a low-stakes wager.        It's not -- certainly

09:46:06   19     not -- it -- it means, you know, it's not impossible.

09:46:10   20     Q.      And you're not actually making a bet there, are you,

09:46:15   21     Mr. Musk?

09:46:16   22     A.      No.

09:46:19   23     Q.      And did you also delete that tweet immediately?

09:46:25   24     A.      Yes.

09:46:25   25     Q.      Now --



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09:46:27    1     A.      I mean, it's kind of like somebody says they're going

09:46:30    2     to Colorado a lot.     It's possible, they have -- could have

09:46:35    3     gone for weed, you know.     Maybe.   Not -- not if they come

09:46:41    4     from California, though.

09:46:45    5     Q.      Can you just tell the jury, just to have some sense,

09:46:47    6     about how long it took you to write those tweets?

09:46:50    7     A.      Just minutes.

09:46:51    8     Q.      And approximately how many tweets at the time were you

09:46:54    9     writing a month?    If you have any idea?     Can you estimate?

09:46:57   10     A.      I don't know, maybe a hundred -- a hundred or 200.

09:47:02   11     Q.      And just stepping aside from tweets for a second.         Can

09:47:06   12     you just give the jury a sense of your -- just in a couple of

09:47:13   13     sentences how busy your schedule is or just what your

09:47:20   14     day-to-day is like?

09:47:21   15     A.      Yeah.   It's very extreme work schedule, it's usually,

09:47:25   16     like, 80 to 100 hours a week on SpaceX and Tesla primarily.

09:47:31   17     It's a very difficult work schedule.       Wouldn't recommend it.

09:47:35   18     Umm, yeah.

09:47:36   19     Q.      How many companies are you in charge of at this point?

09:47:42   20     A.      Well, the hour -- in SpaceX and Tesla, and I'm also

09:47:48   21     the chief engineer of SpaceX, so I lead the design of the

09:47:52   22     rockets and the design of the cars.       But that's like 95

09:47:57   23     percent of my time.     Oren Company and Neuralink are --

09:48:03   24     they're very small companies, and I don't have, really, a

09:48:07   25     strong day-to-day role there.



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09:48:08    1     Q.        Now, Mr. Musk, when you were writing these tweets,

09:48:12    2     were you accusing Mr. Unsworth of the crime of pedophilia?

09:48:18    3     A.        Absolutely not.

09:48:19    4     Q.        Do you even use Mr. Unsworth's name in these tweets?

09:48:25    5     A.        No.

09:48:25    6     Q.        You were asked a bunch of questions yesterday about

09:48:29    7     when the first time you explained that this was an insult.

09:48:34    8     Was it obvious to you from the moment you said it that it was

09:48:37    9     an assault?

09:48:38   10     A.        I thought it was very obviously just an insult.

09:48:41   11     Q.        And did other questions were --

09:48:44   12                         The first time you ever publicly said what

09:48:48   13     these tweets meant to you was not until your deposition.

09:48:52   14     Remember some questions about that?

09:48:54   15     A.        Yes.

09:48:54   16     Q.        Well, did you ever have a press conference about the

09:48:59   17     tweets?

09:48:59   18     A.        No.

09:48:59   19     Q.        Did you ever issue, you know, a statement about the

09:49:02   20     tweets, other than the apology we talked about?

09:49:05   21     A.        No.

09:49:06   22     Q.        Did you give interviews on CNN about the tweets?

09:49:09   23     A.        No.

09:49:09   24     Q.        Okay.   When was the first time you were ever asked

09:49:12   25     what you meant by the tweets?



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09:49:14    1     A.      At the deposition.

09:49:16    2     Q.      And what did you say then?

09:49:18    3     A.      I said it was meant as an insult in response to his

09:49:23    4     insults.

09:49:25    5     Q.      You were asked some questions about --

09:49:31    6                       You don't call --

09:49:33    7                       Is it correct that you don't call Mr.

09:49:36    8     Unsworth a pedophile?

09:49:39    9     A.      That is correct.

09:49:40   10     Q.      And what -- what is a pedophile in your mind?

09:49:42   11     A.      A pedophile could be someone -- well, it could be

09:49:45   12     either someone how has a state of mind of -- of a pedophile

09:49:52   13     or the crime itself.

09:49:54   14     Q.      So, focusing on --

09:49:55   15                       When you say the state of mind --

09:49:57   16     A.      It's possible that somebody could be a pedophile but

09:50:00   17     not act upon it; meaning, they could have an unhealthy

09:50:06   18     interest in children but not act upon it.

09:50:09   19     Q.      Okay.   And did you ever -- just to be very specific --

09:50:12   20     did you ever accuse Mr. Unsworth of the act or crime of

09:50:18   21     pedophilia?

09:50:19   22     A.      No.

09:50:22   23     Q.      You were asked a question about the Cora article that

09:50:32   24     you posted in your apology tweet.

09:50:35   25     A.      Yes.



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09:50:35    1     Q.        Why did you post that article?

09:50:37    2     A.        It was a -- mostly accurate recounting of the events

09:50:43    3     of the -- of what happened in Thailand and what the team had

09:50:48    4     done to aid in the rescue.

09:50:51    5     Q.        And why were you concerned about the team?

09:50:55    6     A.        Well, they'd put a lot of blood, sweat and tears into

09:51:00    7     trying to help out, and we got nothing but criticism for it.

09:51:04    8     Q.        And what do you mean when you say "unreasonable

09:51:08    9     grief"?

09:51:09   10     A.        Well, my -- my comments caused grief to -- to a lot of

09:51:15   11     people, that -- it -- it was definitely hurtful to my team.

09:51:25   12     And, you know, obviously hurtful to Mr. Unsworth.         It was --

09:51:31   13     it was -- it was not helpful, I mean, just goes to show that,

09:51:37   14     you know, some --

09:51:38   15                        It's kind of like, you know, my mom used to

09:51:41   16     say:   If somebody insults you, just let -- let it go.

09:51:41   17     Don't -- you know...

09:51:48   18                   MR. SPIRO:   I'm going to show the witness or ask

09:51:49   19     that the witness look at Exhibit 25.       It should be in your

09:51:57   20     binder.

09:51:57   21     BY MR. SPIRO:

09:52:03   22     Q.        Right around this time in mid July, was the media

09:52:08   23     reporting that Mr. Unsworth was planning to sue you?

09:52:13   24                   MR. WOOD:    Objection.

09:52:14   25                   THE WITNESS:   I'm sorry, I don't have 25.



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09:52:16    1     BY MR. SPIRO:

09:52:17    2     Q.        Forget 25.

09:52:18    3     A.        Okay.

09:52:18    4                      MR. WOOD:    Objection.   Leading.

09:52:19    5     BY MR. SPIRO:

09:52:20    6     Q.        Did you know whether or not Mr. Unsworth was planning

09:52:22    7     to sue you in the middle of July?

09:52:24    8     A.        Yes.    He said so on CNN, I believe, or on some radio

09:52:30    9     news channel.

09:52:31   10     Q.        Were there articles that came out about Mr. Unsworth's

09:52:34   11     intent to sue you?

09:52:35   12     A.        Yes.

09:52:36   13     Q.        Can you look at Exhibit 25?       If you don't --

09:52:42   14     A.        Should I -- I'm not sure I have it.         I'm at 24.

09:52:46   15     Q.        I can pass up a copy.      Not through the well, of

09:52:51   16     course.

09:52:51   17     A.        Twenty-four?

09:52:56   18                      COURT CLERK:   Counsel, you said Exhibit 25?

09:52:59   19                      THE WITNESS:   I have 24 and 26.     Umm, yeah,

09:53:18   20     unfortunately, not 25.

09:53:20   21                      COURT CLERK:   There is no 25.

09:53:28   22                      THE COURT:   Well, 25 appears to be the Guardian

09:53:31   23     article; is that right?

09:53:34   24                      MR. SPIRO:   Yes.

09:53:34   25     BY MR. SPIRO:



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09:53:34    1     Q.      Do you remember --

09:53:34    2                         Let me come back to this.

09:53:36    3                         Do you remember a specific article the

09:53:38    4     Guardian wrote, or do you not --

09:53:40    5     A.      Yeah, I remember the Guardian writing some article

09:53:46    6     saying that Mr. Unsworth was going to sue me.          And there

09:53:48    7     were, I think, quite a few articles, yeah.

09:53:51    8     Q.      I'm going to ask, while we gather the Guardian

09:53:56    9     article, if you could take a look at Exhibit 630.         If you

09:54:11   10     could look at the bigger binder.

09:54:13   11     A.      Yes, I got it.

09:54:14   12     Q.      Were people talking about the fact that Mr. Unsworth

09:54:19   13     was going to sue you on social media?

09:54:22   14     A.      Yes.

09:54:30   15                    MR. WOOD:    We do have an objection.

09:54:31   16                    MR. SPIRO:   This is something that maybe we could

09:54:33   17     visit at the break.

09:54:33   18     BY MR. SPIRO:

09:54:35   19     Q.      But is -- is it fair to say that 6 -- Exhibit 630,

09:54:39   20     without reading it, it's not in evidence -- but just to put a

09:54:42   21     pin on it, the -- is an example of an individual talking

09:54:48   22     about the fact that you're likely to be sued, and linking to

09:54:51   23     an article?     Without telling us who it was.

09:54:53   24                    MR. WOOD:    Objection, Your Honor.   He's trying to

09:54:56   25     get the exhibit information in.



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09:54:57    1                    THE COURT:   I think --

09:54:57    2                         The objection will be sustained.     We can take

09:55:01    3     it up later.

09:55:03    4     BY MR. SPIRO:

09:55:03    5     Q.      Now, just to keep the timeline straight, we're going

09:55:28    6     to put up the calendar.

09:55:33    7                    THE COURT:   All right, just for demonstrative

09:55:35    8     purposes.

09:55:35    9                    MR. SPIRO:   Basing on my direct.   I'm not very

09:55:38   10     mobile right now.

09:55:39   11                         But the jury is familiar hopefully with the

09:55:42   12     month of July.

09:55:58   13     BY MR. SPIRO:

09:55:59   14     Q.      All right.    So, if we can take a look and put up on

09:56:03   15     the screen 62, that is in evidence.

09:56:14   16                         And I'm going to clear my -- okay.

09:56:21   17                         We talked about the tweets on the 15th, Mr.

09:56:30   18     Musk?

09:56:30   19     A.      Yes.

09:56:30   20     Q.      And the apology, right in the middle of July, and we

09:56:35   21     spoke about some of the media attention.

09:56:37   22                         When did, as you understand it, James Howard

09:56:41   23     reach out to your office?      If you know?

09:56:43   24     A.      Yes, he reached out shortly after the tweets.

09:56:48   25     Q.      Okay.    And do you know when, Mr. Musk, in August, your



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09:57:06    1     office began communicating with Mr. Howard?

09:57:16    2     A.      I -- I'm not sure of the exact date, but I think it

09:57:20    3     was -- it would have been perhaps mid August or thereabouts.

09:57:25    4     I'm not sure actually when --

09:57:28    5                       I don't know when that day would have -- but

09:57:30    6     my understanding is mid August.

09:57:33    7     Q.      And so, fair to say, on the 18th, 19th, 20th of July,

09:57:41    8     23rd of July, despite the media reports about the lawsuit,

09:57:45    9     you did not reach out to Mr. Howard.       Is that accurate?

09:57:52   10     A.      That's correct.

09:57:53   11     Q.      Was anything that Mr. Howard told Mr. Birchall, who

09:58:01   12     repeated some of it to you, was it -- was it in your mind on

09:58:06   13     July 15th, back in time?

09:58:09   14                  MR. WOOD:    Objection, Your Honor.    That goes to

09:58:11   15     the substance of what Mr. Howard said, which is not what we

09:58:14   16     put into evidence for.     State of mind.

09:58:16   17                  THE COURT:   I thought the question was what

09:58:19   18     Birchall said Howard said to Birchall.

09:58:23   19                       Was that the way you framed the question?

09:58:26   20                  MR. SPIRO:   Yes, Your Honor.

09:58:27   21                  THE COURT:   The objection is overruled.

09:58:28   22     BY MR. SPIRO:

09:58:29   23     Q.      So, was any of the stuff, to put it another way, that

09:58:30   24     you learned later in August, was it in your mind somehow on

09:58:34   25     July 15th when you sent that tweet?



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09:58:38    1     A.       No.

09:58:38    2     Q.       Would that even be possible?

09:58:40    3     A.       No, it's impossible.

09:58:52    4     Q.       Now, just so the jury understands, you were asked some

09:58:57    5     questions about Jared Birchall and what his roles were at the

09:59:01    6     various companies.      Can you just explain to the jury what his

09:59:05    7     role is?

09:59:05    8     A.       He manages my family office.

09:59:08    9     Q.       Okay.    Does he serve as the CEO or any active role in

09:59:13   10     any company?

09:59:13   11     A.       No.

09:59:14   12     Q.       And when you say he manages your family office, can

09:59:17   13     you just explain --

09:59:20   14                          Strike that.

09:59:20   15                          If you could take a look at 656 --

09:59:36   16     A.       Yes.

09:59:36   17                     MR. WOOD:    I have an objection to 656.

09:59:40   18                     THE COURT:   Let me see it.

09:59:40   19                     MR. WOOD:    I'll withdraw that objection, Your

09:59:50   20     Honor.

09:59:52   21                     THE COURT:   656 is received if you're offering it.

09:59:55   22                     MR. SPIRO:   Yes, Your Honor.

09:59:56   23                     THE COURT:   It's received.

09:59:57   24                     (Exhibit No. 656 received in evidence.)

10:00:13   25     BY MR. SPIRO:



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10:00:13    1     Q.      Is there any doubt in your mind that when you hired or

10:00:17    2     when Mr. Birchall hired Mr. Howard, the investigator, that

10:00:20    3     you were facing likely imminent lawsuit?

10:00:25    4     A.      Yes.

10:00:27    5     Q.      Let me --

10:00:29    6                         The question was not a good one.

10:00:33    7                         Are you certain that when you hired

10:00:36    8     Mr. Howard, the investigator, that you were aware that you

10:00:40    9     were facing an imminent lawsuit?

10:00:47   10     A.      Yes.    It was in response to the imminent lawsuit that

10:00:51   11     he was engaged.

10:00:53   12     Q.      When you say in later July -- later August:        "It's

10:01:10   13     strange he hasn't sued me, and that he was offered free legal

10:01:15   14     services."     Do you remember that tweet?

10:01:17   15     A.      Yes.

10:01:17   16     Q.      When you said that tweet, were you already receiving

10:01:21   17     information from Mr. Birchall, from Mr. Howard, back to you?

10:01:25   18     A.      Sorry, what date is that?

10:01:28   19     Q.      August 28?

10:01:29   20     A.      Yes, I received some information from Mr. Birchall

10:01:34   21     that sounded very -- sounded like potentially that there was

10:01:39   22     some bad things going on.

10:01:43   23     Q.      And in that tweet you indicate:      "He was offered free

10:01:50   24     legal services."     Right?

10:01:52   25     A.      Yes.



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10:01:52    1     Q.      The fact that he was offered legal services was on

10:01:56    2     your mind.

10:01:56    3     A.      Yes.

10:02:07    4     Q.      Right around that same time you were shown --

10:02:11    5                    MR. SPIRO:   And I'm going to show the witness now,

10:02:21    6     69 -- 933.

10:02:29    7                    MR. WOOD:    No objection.

10:02:31    8                    THE COURT:   Received.

10:02:32    9                    (Exhibit No. 933 received in evidence.)

10:02:35   10     BY MR. SPIRO:

10:02:35   11     Q.      And if you could just look at the top.

10:02:38   12                         When you write:      "The reporter.   Off the

10:02:42   13     record."   What does that mean?

10:02:44   14     A.      "Off the record" means not for publication.

10:02:47   15                    MR. WOOD:    Objection, Your Honor.

10:02:49   16                    THE COURT:   Overruled.

10:02:53   17                    THE WITNESS:   It just means not for publication,

10:02:57   18     in any way.

10:02:58   19     BY MR. SPIRO:

10:03:00   20     Q.      And at this point, did you believe the information

10:03:04   21     that you put in this e-mail was information you received from

10:03:09   22     Mr. Howard to Mr. Birchall?

10:03:11   23     A.      Yes.

10:03:11   24     Q.      Is all the information you put in this e-mail

10:03:16   25     consistent with the information you believe, again, from



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10:03:19    1     Mr. Howard to Mr. Birchall to you?

10:03:21    2     A.        Yes.

10:03:22    3     Q.        If we can go to the prior e-mails.         Let's go down to

10:03:28    4     the beginning.

10:03:33    5                           Okay.    So, August 29th, you get the first

10:03:37    6     e-mail.    Do you see that?

10:03:39    7     A.        Yes.

10:03:39    8     Q.        Okay.    If we can go down, and you respond.       And then

10:03:50    9     August 29th, again, and he writes:            "Actually, he prefers to

10:03:59   10     be called a spelunker, and we've confirmed that he actually

10:04:05   11     does do cave diving."

10:04:10   12                           Go up.

10:04:11   13                           And any messages you --

10:04:12   14                           You don't respond, right?      August 29?

10:04:14   15     A.        Correct.    Yes.

10:04:16   16     Q.        And does he follow up here again?

10:04:19   17     A.        Yes.

10:04:19   18                      MR. SPIRO:    And then I'm going to show the witness

10:04:25   19     688.

10:04:27   20                      MR. WOOD:    No objection.

10:04:42   21                      THE COURT:    Received.

10:04:43   22                      (Exhibit No. 688 received in evidence.)

10:04:46   23                      MR. SPIRO:    Can you put 688 up on the board?    This

10:04:51   24     is not 688.

10:04:51   25                  (Discussion held off the record.)



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10:05:03    1                      MR. SPIRO:   I'm being told my underlining is not

10:05:06    2     very good.       So, I'll do it one more time.

10:05:12    3     BY MR. SPIRO:

10:05:13    4     Q.        One more time.      Let me ask you this, Mr. Musk.    When

10:05:16    5     you were on -- when Mr. Lin was examining you, Lin Wood,

10:05:23    6     excuse me, Mr. Wood was examining you, did he show you this

10:05:27    7     e-mail?

10:05:28    8     A.        I don't recall.     I don't think so.

10:05:38    9     Q.        On the same day did you also send this e-mail to the

10:05:43   10     reporter?

10:05:44   11     A.        Yes.

10:05:45   12     Q.        And what does that e-mail say?

10:05:48   13     A.        This is -- this is on background, which means just,

10:05:53   14     not for attribution, but it's just -- these are the facts

10:05:56   15     that should be cleared up.        So, this -- this can be

10:06:00   16     published, but it just -- I don't want them having me -- as a

10:06:03   17     quote.    It's just information on background.       So -- as

10:06:08   18     opposed to the other e-mail, which was not for publication.

10:06:15   19     These facts could be used in publication.

10:06:18   20                           Should I read the e-mail or --

10:06:20   21     Q.        It's in evidence.     I don't think we need to do that at

10:06:24   22     this time.

10:06:24   23     A.        Okay.

10:06:25   24     Q.        Subsequent to August 30th, okay, at some point in

10:06:30   25     September --



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10:06:32    1                         Remember, we're going to go chronologically,

10:06:34    2     right?   So, now we're in September.

10:06:36    3     A.       Yes.

10:06:36    4     Q.       At a later point in time, did you come to have

10:06:42    5     concerns about the reliability of Mr. Howard?

10:06:44    6     A.       Yes.

10:06:44    7     Q.       Okay.   And as you sit here today, all this information

10:06:49    8     that you had --

10:06:51    9                         Again, in July 15, did you know anything

10:06:54   10     about Mr. Unsworth?

10:06:55   11     A.       Nothing.

10:06:56   12     Q.       Late August, did you believe you knew something about

10:07:00   13     Mr. Unsworth?

10:07:00   14     A.       Yes.

10:07:01   15     Q.       Now, we're in September.    At that point in time in

10:07:06   16     September, did you -- in your own mind -- did you begin to

10:07:12   17     have concerns about the reliability of Mr. Howard?

10:07:14   18     A.       Yes.

10:07:15   19     Q.       And did eventually you instruct Mr. Birchall to

10:07:20   20     withdraw and have no further contact with him?

10:07:22   21     A.       Yes.

10:07:25   22     Q.       You were asked a lot of questions about --

10:07:34   23                         Mr. Wood asked you a bunch of questions

10:07:36   24     about, you know:     "Mr. Unsworth separated from his wife.       He

10:07:39   25     met his companion Tik in a coffee shop."



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10:07:45    1                         Do you remember those questions?

10:07:45    2     A.      Yes.

10:07:46    3     Q.      Okay.    As you sit here today, you don't know.      Right?

10:07:49    4     A.      I don't know for -- I don't know if those are -- if

10:07:52    5     that's actually true or not.

10:07:53    6     Q.      Right.    You still, as you sit here today, you don't

10:07:56    7     know -- you don't have any information about the personal

10:08:00    8     background of Mr. Unsworth?

10:08:02    9     A.      I mean, I've heard people say some things, but I do

10:08:06   10     not know if those things are true or not.

10:08:10   11                    MR. SPIRO:   Just a moment, Your Honor.

10:08:24   12                    (Discussion off the record.)

10:08:24   13     BY MR. SPIRO:

10:08:25   14     Q.      And just -- finally, the apologies you've made to Mr.

10:08:37   15     Unsworth, you apologized right after the tweets?

10:08:41   16     A.      Yes.

10:08:41   17     Q.      You apologized at his deposition?

10:08:43   18     A.      Yes.

10:08:44   19     Q.      You apologized yesterday in court?

10:08:46   20     A.      Yes.

10:08:46   21     Q.      Are those genuine apologies?

10:08:52   22     A.      Yes.

10:08:53   23                    MR. SPIRO:   I have nothing further.

10:08:54   24                    THE COURT:   Recross.

10:08:55   25                    MR. SPIRO:   With those issues, of course, we can



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10:08:58    1     address --

10:08:59    2                   THE COURT:    Yes.

10:09:01    3                   MR. WOOD:    May I proceed, Your Honor?

10:09:03    4                   THE COURT:    Yes.

10:09:08    5                                RECROSS-EXAMINATION

10:09:08    6     BY MR. WOOD:

10:09:09    7     Q.        Mr. Musk, if would you turn to 201.

10:09:12    8                         If you could put it on the screen for me.

10:09:15    9     A.        Sorry.   Do you mean -- of the large --

10:09:20   10     Q.        In the notebook of exhibits.

10:09:23   11                         I'm sorry, he needs to have a trial exhibit

10:09:26   12     notebook.

10:09:29   13                   THE COURT:    Is 201 in evidence?

10:09:31   14                   MR. WOOD:    It is, but I wanted him to look at it.

10:09:33   15                   COURT CLERK:    It came in yesterday.

10:09:35   16                   THE COURT:    I see.   He can look at it on the

10:09:37   17     screen.

10:09:37   18                   THE WITNESS:    Yeah, sure.

10:09:38   19     BY MR. WOOD:

10:09:39   20     Q.        I want to make sure to pull it up on the screen.

10:09:41   21     A.        Sure.

10:09:53   22     Q.        When you just testified that your apologies were

10:09:57   23     genuine, you were talking about, including the apology that

10:10:03   24     you put on Twitter on or about July 17th or 18th, true?

10:10:12   25     A.        That was the first of the three apologies, yes.



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10:10:19    1     Q.      You wanted Mr. Unsworth to know that you were sorry,

10:10:24    2     true?

10:10:25    3     A.      Yes.

10:10:25    4     Q.      How was he going to know that?

10:10:27    5     A.      Well, where I said I apologized to Mr. Unsworth and to

10:10:31    6     the company representatives later.

10:10:32    7     Q.      Mr. Musk, do you have any evidence or knowledge to

10:10:38    8     suggest that Vern Unsworth was ever on Twitter?

10:10:47    9     A.      I don't, but anything that I say on Twitter, most

10:10:50   10     things that I say on Twitter will generally get some press

10:10:54   11     awareness.

10:10:56   12     Q.      So, if you wanted --

10:11:01   13                       Mr. Unsworth, in what he stated in his

10:11:04   14     interview about your tube, did not state it on Twitter, did

10:11:10   15     he?

10:11:10   16     A.      No, he's -- he stated it on a CNN interview.

10:11:16   17     Q.      So, there is obviously a disconnect, potentially,

10:11:22   18     between whether Mr. Unsworth would even see the apology,

10:11:27   19     given that he does not have a Twitter account, and he did not

10:11:32   20     have it in July of 2018?

10:11:35   21     A.      I think that's unlikely as there are -- as was shown,

10:11:44   22     my original insult that was reported, and the apology was

10:11:49   23     also reported.    So, I mean, if I -- if I write something on

10:11:54   24     Twitter, it will get reported, generally.

10:11:56   25     Q.      So, you expected with both the "pedo guy" tweet on



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10:12:05    1     Twitter, you knew at the time you made it then, and you

10:12:08    2     expected at the time you made the apology that your tweets

10:12:13    3     were going to get widespread publicity.       True?

10:12:16    4     A.      They're going to get some publicity, yeah.

10:12:21    5     Q.      Well, more publicity than they would get in terms of

10:12:25    6     just the Twitter world, true?

10:12:27    7     A.      Yes.

10:12:28    8     Q.      You expected they would get publicity beyond the

10:12:32    9     people on Twitter, true?

10:12:36   10     A.      Yes.

10:12:36   11     Q.      Both with respect to the apology -- you made that

10:12:44   12     assumption, right?

10:12:44   13     A.      Yes.

10:12:45   14     Q.      That Mr. Unsworth would find out about it on media

10:12:49   15     reports outside of Twitter, right?

10:12:51   16     A.      Yeah, since the original -- my insult response to Mr.

10:12:56   17     Unsworth's insults and lies were -- was on Twitter, it seemed

10:13:04   18     appropriate that the apology should also be on Twitter.          It's

10:13:06   19     the same -- if that would make sense.       I think it would be

10:13:10   20     odd if the insults was on Twitter, and then the apology was

10:13:15   21     in a completely different medium.

10:13:18   22     Q.      "Mr. Unsworth, what you said was an insult about the

10:13:21   23     tube on CNN."    That was not published by Mr. Unsworth on

10:13:26   24     Twitter by Mr. Unsworth.

10:13:28   25     A.      Not by Mr. Unsworth, no, but by others.



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10:13:31    1     Q.       Right.    If there was a Twitter brawl involving you and

10:13:35    2     some other individual on Twitter over your "pedo guy"

10:13:43    3     comments, it would not have been a brawl on Twitter that Mr.

10:13:47    4     Unsworth ever engaged in.        He was not on Twitter.   Right?

10:13:50    5                     MR. SPIRO:   Objection.   Form.   Assumes facts.   He

10:13:54    6     said he doesn't know whether he's on Twitter.

10:13:56    7                     MR. WOOD:    There will be testimony he was not,

10:13:58    8     Your Honor.

10:13:59    9                     THE COURT:   Well, let that come in if it's going

10:14:02   10     to be presented.      But I'll sustain the objection.

10:14:04   11                     MR. WOOD:    May I have just a moment, Your Honor?

10:14:16   12                     THE COURT:   Yes.

10:14:56   13     BY MR. WOOD:

10:14:56   14     Q.       You went over with Mr. Spiro some of the e-mails and a

10:15:01   15     video related to the development of the mini submarine,

10:15:08   16     right?

10:15:09   17     A.       Yes.

10:15:11   18                     MR. WOOD:    I'm going to ask the witness to look at

10:15:19   19     Exhibit 252, 262, 269, 270, 271 and 263.

10:15:55   20                          That's why I'm asking him to look so he can

10:15:58   21     object if he wants to.

10:16:11   22                     (Discussion off the record.)

10:16:26   23                     MR. SPIRO:   Your Honor, I understand that's a long

10:16:28   24     series of different tweets.         If it's the words of Mr. Musk in

10:16:32   25     and around that time, that, we have no objection to that.



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10:16:35    1                    THE COURT:   Well, all I can do is respond to an

10:16:42    2     objection or a stipulation.

10:16:44    3                         Are you agreeing that these documents as

10:16:49    4     cited by counsel can be in evidence?

10:16:51    5                    MR. SPIRO:   As for the statements of Mr. Musk,

10:16:53    6     yes.

10:16:53    7                    THE COURT:   All right, then, received for that

10:16:55    8     purpose.

10:15:21    9                (Exhibit Nos. 252, 262, 269, 270, 271 and 263

10:17:03   10                admitted into evidence.)

10:17:03   11                    THE WITNESS:   So -- a lot of numbers.    Are we on

10:17:05   12     the screen or which --

10:17:09   13     BY MR. WOOD:

10:17:11   14     Q.      We'll go through them one at a time and let you look

10:17:14   15     at them.

10:17:14   16     A.      Yes.

10:17:15   17     Q.      Do you remember tweeting 252?

10:17:20   18     A.      Yes.

10:17:20   19     Q.      And then, if you would, continue with that grid.         Do

10:17:34   20     you remember tweeting that second page in front of you?

10:17:38   21     A.      Yeah.

10:17:38   22     Q.      And then the next page.     Do you remember tweeting

10:17:45   23     these tweets on July the 10th, July the 8th, July the 11th?

10:17:54   24     A.      Not sure -- I mean, yeah --

10:17:57   25                         I don't remember every tweet.    There are



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10:17:58    1     thousands of tweets.     But if you show them, then, sure, like

10:18:02    2     it helps to recall them.

10:18:03    3     Q.      And then the next page, of 252, those are your tweets

10:18:10    4     on July the 8th?    One or more being maybe July the 10th and

10:18:15    5     July the 11th.    Those are the tweets that you posted, true?

10:18:20    6     A.      Yeah.

10:18:20    7     Q.      Same thing with the next page, tweets of July the 11th

10:18:24    8     and 10th?

10:18:27    9     A.      Yeah.

10:18:28   10     Q.      Same thing with the next page, tweets of July 11, July

10:18:33   11     10, you tweeted those on those dates?

10:18:39   12     A.      Yes.

10:18:40   13     Q.      Same thing with respect to the tweets on the last page

10:18:44   14     of 252, July 8, 10, and 11, those are your tweets made on

10:18:50   15     those dates?

10:18:52   16     A.      Yes.

10:18:52   17     Q.      And in all of those, you're essentially tweeting about

10:18:56   18     the development of the tube, right?

10:18:58   19     A.      Not all of them.

10:19:00   20     Q.      A number of them were about the development of the

10:19:05   21     tube.   True?

10:19:07   22     A.      You seem to be listing just the -- all the tweets that

10:19:11   23     I've made of those times.      Some of it was related to the

10:19:14   24     tube, some of it was not.

10:19:16   25     Q.      And then if you'd look at 262, first page, those



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10:19:24    1     tweets related to your development of the tube on July the

10:19:27    2     7th, and --

10:19:30    3     A.      Yeah.

10:19:31    4     Q.      Yeah, that's July the 7th.      And the next page more

10:19:37    5     tweets related to the development of the tube on July the 7th

10:19:40    6     that you posted.     True?

10:19:44    7     A.      Yes.

10:19:44    8     Q.      And the next page, tweets that you posted on July the

10:19:50    9     7th, again, related to your efforts to develop -- build,

10:19:54   10     create, develop the tube, true?

10:19:57   11     A.      Yes.

10:19:58   12     Q.      And the next page, again July 7th, tweets related to

10:20:03   13     your being involved in building the tube, true?

10:20:06   14     A.      Yes.    I was looking for feedback from the public to

10:20:09   15     see if there's any improvements they could suggest.

10:20:14   16     Q.      Thank you.    Right now I'm just asking you, did you

10:20:16   17     make these tweets?

10:20:17   18     A.      Yes.

10:20:18   19     Q.      Did you make the tweets on the next page --

10:20:18   20     A.      Yes.

10:20:20   21     Q.      -- on July the 7th.     Those are your tweets about the

10:20:26   22     tube?

10:20:26   23     A.      Yes.

10:20:31   24     Q.      And the next page?

10:20:35   25     A.      I mean, I tweet a lot.     In general.



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10:20:39    1     Q.       I'm just talking about the amount of tweets you did

10:20:42    2     regarding your development of the tube from July the 7th to

10:20:46    3     July the 11th.     That's what I'm asking you about.

10:20:49    4                         And then look at 269.   Again, that's a tweet

10:21:01    5     that you posted on July the 8th about the tube?

10:21:05    6     A.       Yes.

10:21:06    7     Q.       270.    And I apologize, Mr. Musk, there is a picture

10:21:17    8     there.   Did you post a video, the one that you showed in

10:21:20    9     court, or is that just a photograph from the video?

10:21:23   10     A.       I believe that's the video that was shown.

10:21:25   11     Q.       So, you -- the video that was shown in court today

10:21:29   12     about the efforts to go from one end of the swimming pool to

10:21:33   13     the other with a person in it, that your counsel played in

10:21:38   14     court today.

10:21:39   15     A.       Yes.

10:21:39   16     Q.       You posted that video in its entirety on your Twitter

10:21:43   17     page on July the 8th; am I right?

10:21:46   18     A.       Yes.    As I mentioned, I was looking for feedback from

10:21:52   19     the public as to how we might improve the design.

10:21:57   20     Q.       So, you were hoping to get this -- significant input

10:22:01   21     from the public to help you build this tube in time to save

10:22:05   22     the boys?   Is that what you're telling me?

10:22:07   23     A.       Yeah.   I frequently solicit feedback from the public

10:22:12   24     on many things, the Tesla car design, even some of the rocket

10:22:17   25     stuff.



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10:22:18    1                         There are some pretty smart people out there,

10:22:21    2     and they have some good feedback.       In fact, I would say,

10:22:32    3     like, we've incorporated quite a lot of public feedback from

10:22:38    4     Twitter into Tesla vehicle design.

10:22:49    5     Q.        So, would you agree with me that appearing from

10:22:53    6     Twitter that between the 7th and 9th, 10th of July, you were

10:23:04    7     tweeting extensively about your efforts regarding the tube --

10:23:09    8     I understand that you tell us it was to get input from the

10:23:11    9     public.    I understand that.

10:23:12   10     A.        Yes.

10:23:12   11     Q.        But you were tweeting extensively to get out to the

10:23:18   12     public all of your efforts in SpaceX efforts to build the

10:23:22   13     tube.    True?

10:23:25   14     A.        Yes, I was trying to get feedback from the public as

10:23:28   15     to how we might improve the design.

10:23:31   16     Q.        And you were tweeting extensively for that purpose,

10:23:34   17     right?

10:23:35   18     A.        Yes.   As I said, I do this in general for many things

10:23:43   19     that we're working on, work on SpaceX and Tesla.         It's great

10:23:48   20     to get feedback from the public.

10:23:50   21     Q.        And you gave in response to Mr. Spiro your

10:23:54   22     understanding of what "pedophilia" is or what it refers to,

10:23:58   23     on direct, right?

10:24:01   24     A.        Upon me --

10:24:02   25     Q.        He asked you about your understanding of what



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10:24:05    1     "pedophilia" was.

10:24:07    2     A.      Yes.

10:24:07    3     Q.      And if you'll remind me, please, and the jury, what

10:24:10    4     did you say it was?

10:24:11    5     A.      It could be either a state of mind --

10:24:17    6                       It could be either a crime or a state of

10:24:19    7     mind.   Those -- yeah.

10:24:21    8     Q.      So, you're saying that either -- as you understood,

10:24:24    9     "pedophilia" -- "pedophile," that carries with it, in your

10:24:31   10     view, potential acts the person may commit.        Right?

10:24:38   11     A.      It's what -- it's one of the possibilities.

10:24:41   12     Q.      I'm sorry.

10:24:42   13     A.      Yeah, either -- it just literally means "love of

10:24:47   14     children."

10:24:47   15     Q.      Right.   But your testimony is, it can either be

10:24:50   16     demonstrated through actions or thoughts.        True?

10:24:54   17     A.      Yes.

10:24:55   18     Q.      Would sexual relations with a child who's a minor be

10:25:04   19     the act of a pedophile as you define it or understand it?

10:25:09   20     A.      Yes.

10:25:09   21     Q.      That would make that person, as a pedophile, in

10:25:18   22     effect, be a child rapist.      Right?

10:25:20   23     A.      Effectively, they would be committing statutory rape,

10:25:27   24     yes.

10:25:27   25     Q.      And if under your understanding of "pedophile," if an



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10:25:36    1     individual married a minor child, that would be an act of

10:25:40    2     pedophilia, true?

10:25:43    3     A.      Well, strictly speaking, they would have to have

10:25:47    4     sexual relations with -- with someone who's a minor.         I

10:25:55    5     think -- yeah.    If somebody marries a 12-year-old, I think

10:26:00    6     that's -- that's probably pedophilia, yes.

10:26:04    7     Q.      And if someone, under your understanding of

10:26:07    8     "pedophilia," if someone lives in an area known for child sex

10:26:19    9     trafficking, that's not an act of pedophilia, true?

10:26:28   10     A.      True.

10:26:28   11     Q.      That might suggest, though, that if someone lives in

10:26:31   12     an area of child -- near child sex trafficking, that that

10:26:36   13     person has the thoughts that you described of a pedophile,

10:26:41   14     true?

10:26:41   15                  MR. SPIRO:   Objection to the form.     I don't

10:26:43   16     understand the question.

10:26:46   17                  THE COURT:   Overruled.

10:26:46   18                  THE WITNESS:   It's possible.

10:27:12   19     BY MR. WOOD:

10:27:12   20     Q.      Am I correct, in your discussion of "pedophilia," that

10:27:17   21     "pedo guy" and "pedo," you see is basically the same

10:27:22   22     equivalency as an insult.

10:27:23   23                  MR. SPIRO:   Objection.    Mischaracterizes the

10:27:25   24     testimony.

10:27:26   25                  THE COURT:   Well, he's asking a question.      He can



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10:27:28    1     ask the question.     We can get an answer.

10:27:33    2                  THE WITNESS:   I think "pedo guy" is more flippant

10:27:39    3     and off-the-cuff and is less significant than "pedo."

10:27:45    4     BY MR. WOOD:

10:27:45    5     Q.      In what way?

10:27:46    6     A.      I mean, if you add "guy" to something, it's just --

10:27:51    7     it's less serious.

10:27:52    8     Q.      Serious about what issue?

10:27:54    9     A.      I mean, it -- it's just -- it's -- you know, it's a --

10:28:01   10     it is not -- it is more obviously just an insult, as if you

10:28:06   11     said, like, that, you know, "mother effer," you know, that's

10:28:13   12     like, you don't literally mean incest.

10:28:16   13     Q.      Do you feel --

10:28:20   14     A.      Like "that -- that mother effer guy," "MF guy," that

10:28:26   15     is obviously obviously more flippant, you know?        It's not --

10:28:33   16     it's not -- it's just not as serious accusation.

10:28:36   17                       I mean, I want to be clear.      I did not accuse

10:28:40   18     Mr. Unsworth of being a pedophile.

10:28:43   19     Q.      Mr. Musk, are you saying that "pedo guy" is a more

10:28:51   20     flippant way of expressing "pedo"?

10:28:54   21     A.      It's just obviously an insult.      No one -- no one took

10:28:59   22     that to mean "pedophile."

10:29:03   23                  MR. WOOD:    Move to strike that, Your Honor.

10:29:05   24                  THE COURT:   All right.    It's stricken.

10:29:08   25                  MR. WOOD:    Thank you.   And the jury be asked to



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10:29:10    1     disregard it.

10:29:11    2                  THE COURT:   The jury will follow my instructions.

10:29:22    3                  MR. WOOD:    Thank you.

10:29:22    4     BY MR. WOOD:

10:29:22    5     Q.       So, "pedo" and "pedo guy" are not essentially

10:29:27    6     equivalent, of the same thing, one more flippant, one more

10:29:27    7     serious.

10:29:27    8     A.       They're both flippant.    One is more flippant than the

10:29:31    9     other.

10:29:31   10     Q.       So, if somebody says:    Hey, you're a pedo.     That would

10:29:37   11     be saying less flippantly than saying:       Hey, you're a pedo

10:29:37   12     guy.

10:29:42   13                       Is that what you're telling me?

10:29:43   14                  MR. SPIRO:   Objection.    Form and also calls for

10:29:45   15     speculation.

10:29:47   16                  THE COURT:   He's probing.    I mean, this is -- I

10:29:49   17     told the jury questions are not evidence, but this is

10:29:54   18     cross-examination, and the questioner is allowed to use that

10:29:59   19     form of question.     That's the way cross-examination goes.

10:30:03   20     So, overruled.

10:30:09   21     BY MR. WOOD:

10:30:09   22     Q.       Can you answer the question?

10:30:10   23     A.       I'm not clear on what your question was.       But "pedo"

10:30:16   24     and "pedo guy" both, in my view, are insults, just meaning

10:30:24   25     "creepy old man."     "Pedo guy" is more flippant than "pedo."



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10:30:29    1                  MR. WOOD:    If I may step away, Your Honor, for a

10:30:33    2     moment from the podium to look at the realtime feed?

10:30:37    3                  THE COURT:   Yes.

10:30:37    4     BY MR. WOOD:

10:30:49    5     Q.      I just want to be clear, Mr. Musk, this is the

10:30:51    6     question that I was asking:      "So, if somebody says:     'Hey,

10:30:55    7     you're a pedo,' that would be saying less flippantly than if

10:31:00    8     they had said:    'Hey, you're a pedo guy.'      Is that what

10:31:05    9     you're telling us?"

10:31:06   10     A.      I think both "pedo" and "pedo guy" are flippant.

10:31:12   11     "Pedo guy" is more flippant than "pedo."        I think especially

10:31:16   12     in the context of which I used it in the tweet.

10:31:19   13     Q.      Because that's the key to how -- the context you used

10:31:22   14     it in the tweet, true?     In your mind.

10:31:25   15     A.      In the tweet it was obviously a flippant insult in

10:31:29   16     response to his insult, and no one interpreted that as

10:31:34   17     being -- meaning pedophile.

10:31:41   18     Q.      And is your testimony that "pedo guy" is quite

10:31:48   19     commonly known in the English speaking world as being an

10:31:56   20     insult of "creepy old man in looks and appearance."         Is that

10:32:01   21     your testimony?

10:32:02   22     A.      That's my belief, yes.

10:32:26   23     Q.      Would you look at Exhibit 92?

10:32:42   24                  MR. SPIRO:   Your Honor, we have objections to this

10:32:44   25     exhibit.



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10:32:44    1                  THE COURT:    Let me get it and look at it.

10:32:46    2                  MR. SPIRO:    Of course.

10:35:06    3                  THE COURT:    Let me ask a question.    In this

10:35:10    4     exhibit, 92, and this is for the witness, if the witness has

10:35:19    5     looked at it, are these exhibits, tweets, whatever they are,

10:35:30    6     something that the witness saw at the times and dates posted

10:35:38    7     on the -- on tweets?      Maybe --

10:35:49    8                  MR. WOOD:    These are actually media articles, Your

10:35:53    9     Honor.

10:35:53   10                  THE COURT:    Whatever they are.    The question is:

10:35:58   11     Were these things that the witness read or --

10:36:11   12                  THE WITNESS:    No.

10:36:14   13                  THE COURT:    And so the answer is no.     That was a

10:36:17   14     foundational question.

10:36:20   15                       On that basis, I'll sustain the objection.

10:36:22   16     But you can ask further questions along those lines.

10:36:26   17                  MR. WOOD:    Thank you, Your Honor.

10:36:27   18     BY MR. WOOD:

10:36:28   19     Q.       Mr. Musk, based on your testimony about the

10:36:33   20     understanding in the English speaking world about "pedo guy"

10:36:39   21     meaning "creepy old man in looks and appearance."

10:36:44   22     A.       Uh-huh, yes.

10:36:45   23     Q.       Are you familiar -- or do you know how the media in

10:36:49   24     the United Kingdom reported on that tweet, "pedo guy"?

10:36:56   25     A.       Best of my recollection, the reporting was universally



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10:37:05    1     that I had insulted Mr. Unsworth, but not that he was

10:37:09    2     actually a pedophile, and nobody thought that.

10:37:14    3     Q.      The reporting was almost universal that the insults

10:37:18    4     you made --

10:37:20    5                   THE COURT:   Well, let's get a foundation here.

10:37:20    6                   MR. WOOD:    I'll restate it.

10:37:22    7                   THE COURT:   In other words, we're talking about --

10:37:25    8     this is all relating to the timeframe, and I'm not the jury,

10:37:31    9     so, I'm just getting a point of reference here.

10:37:33   10                        It seems to me we're talking about the

10:37:36   11     timeframe between July 15 and July 17, correct?

10:37:40   12                   MR. WOOD:    Yes, Your Honor.

10:37:42   13                   THE COURT:   So, if we're talking about that

10:37:45   14     timeframe, the foundational question has to be not what he

10:37:50   15     knows now but what he knew then.      And so the jury could

10:37:58   16     determine whether that's relevant or not.

10:38:00   17                        I'm just trying to get to a point of

10:38:03   18     reference.    So, the question is -- the way your question

10:38:09   19     should be framed is with that timeline in mind.

10:38:14   20                   MR. WOOD:    Thank you, Your Honor.

10:38:15   21                   THE COURT:   At least that's my view.

10:38:17   22     BY MR. WOOD:

10:38:19   23     Q.      In the timeframe between July the 15th and July the

10:38:22   24     17th, did you know that the media in the United Kingdom was

10:38:32   25     reporting that your insult of "pedo guy" was an insult that



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10:38:38    1     Mr. Unsworth was a pedophile?

10:38:44    2                  MR. SPIRO:   Objection to form.      Assumes facts.

10:38:47    3                  THE COURT:   Well, did he know at the time?      It's

10:38:52    4     asking for his state of mind.      At the time.    So, as far as

10:38:57    5     the question goes, I'll allow the question.

10:39:02    6                  THE WITNESS:   No.   The --

10:39:06    7                       Yeah, so, the -- all the press that I read,

10:39:11    8     including the British press, interpreted what I said as an

10:39:16    9     insult and not that Mr. Unsworth was actually a pedophile.

10:39:21   10     This was interpreted --

10:39:23   11                       And the press was universally negative

10:39:25   12     against me and in support of Mr. Unsworth.

10:39:29   13     BY MR. WOOD:

10:39:29   14     Q.      So, you're now telling us that you did know what the

10:39:32   15     press was reporting --

10:39:33   16                  THE COURT:   When you say "now" --

10:39:35   17                       Don't use the word "now," because it's

10:39:37   18     argumentative.    Just ask him a question.

10:39:39   19     BY MR. WOOD:

10:39:41   20     Q.      Between July the 15th and July the 17th, did you know

10:39:46   21     what the press in the United Kingdom was saying about "pedo

10:39:55   22     guy"?

10:39:55   23     A.      My recollection of all the press at the time was that

10:40:00   24     the -- they correctly interpreted what I said as being an

10:40:05   25     insult, not an actual accusation of pedophilia.



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10:40:10    1     Q.        Same question with respect to the press at the time,

10:40:13    2     July the 15th, July 17th in Finland, Sweden and Denmark.

10:40:23    3     A.        Well, I -- I admittedly -- I do not read Scandinavian

10:40:29    4     press.    I don't speak Finnish, Swedish or Norwegian.

10:40:35    5     Q.        How about -- the same question between the July 15 and

10:40:39    6     July the 17th in terms of what was being reported in the

10:40:44    7     Netherlands and Belgium.

10:40:47    8     A.        I -- I don't know what was reported in Netherlands and

10:40:52    9     Belgium.    I do not speak Dutch or Flemish.

10:40:58   10     Q.        Same question with respect to July the 15th or July

10:41:00   11     the 17, about what the media was reporting about "pedo guy"

10:41:03   12     in Switzerland and Austria.

10:41:07   13     A.        I mean -- no.

10:41:09   14                   THE COURT:    Let's not go through the globe.    I

10:41:09   15     mean --

10:41:17   16                        What languages do you speak, Mr. Musk?

10:41:20   17                   THE WITNESS:    Well, I speak a little Spanish and a

10:41:23   18     little French and a little German.

10:41:26   19                   THE COURT:    I'll allow you to go through the

10:41:29   20     Caribbean and South America, and maybe the German part of

10:41:35   21     Switzerland and Germany.

10:41:39   22                   MR. WOOD:    Let me try this, if I might, Your

10:41:41   23     Honor.    Now, given the witness' testimony, I re-tender into

10:41:45   24     evidence Exhibit 92.       I think I've laid the foundation.

10:41:46   25                   THE COURT:    The objection is sustained.



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10:42:07    1     BY MR. WOOD:

10:42:07    2     Q.      Would you look at Exhibit 212, Mr. Musk?

10:43:06    3                  MR. WOOD:    Your Honor, I tender in evidence

10:43:08    4     Exhibit 212 with an exclusion from that exhibit of any Google

10:43:24    5     Alerts that are not related to the July 15 tweets.         And with

10:43:28    6     those exclusions, I tender into evidence, on behalf of the

10:43:32    7     plaintiff.

10:43:32    8                  THE COURT:   All right, let's --

10:43:34    9                  MR. SPIRO:   There is an objection.

10:43:38   10                  THE COURT:   What did you say?

10:43:38   11                  MR. SPIRO:   There will be an objection.

10:43:40   12                  THE COURT:   Let's take the morning recess for 10

10:43:45   13     or 12 minutes, okay?

10:43:48   14                  COURT CLERK:   All rise.

10:44:08   15                  (Following proceedings held outside the presence

10:44:33   16     of the jury.)

10:44:34   17                  THE COURT:   What is the relevance of Exhibit 212?

10:44:38   18                  MR. WOOD:    It is a Google Alerts sent directly to

10:44:44   19     Elon Musk, alerting him that there were media report on July

10:44:49   20     the 16th, stating that he called Mr. Unsworth a pedophile.

10:45:05   21                  THE COURT:   I see.   It's part of the presentation

10:45:08   22     from the plaintiff that the apology was the result of

10:45:13   23     pressure and not genuine.

10:45:15   24                  MR. WOOD:    That, and the interpretation in the

10:45:18   25     English speaking world was that "pedo guy" meant "pedophile"



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10:45:25    1     not "creepy old man in manner and appearance."

10:45:31    2                  THE COURT:   Well, I don't see the -- the relevance

10:45:36    3     of the tweet for that purpose.      He's just saying "pedo,"

10:45:43    4     and --

10:45:43    5                       What's your objection?     If that -- just that

10:45:47    6     first paragraph on Exhibit 212 is offered, and everything

10:45:53    7     thereafter is not.

10:45:54    8                  MR. SPIRO:   The problem is one of relevance, that

10:45:58    9     you have discussed with Mr. Wood; but it's also foundational,

10:46:03   10     and -- it's very misleading under 403.

10:46:08   11                  THE COURT:   Well, I mean, the foundational

10:46:10   12     objection has to be examined.      I mean, he has to ask him:

10:46:14   13     Did he see this -- did he -- tell him to look at Exhibit 212,

10:46:19   14     look at the first tweet, and then ask him whether he saw that

10:46:26   15     tweet before July 17th, the apology.       And if he says he did,

10:46:33   16     then, to me, it would be admissible.       If he does -- if he

10:46:45   17     says he doesn't, then it wouldn't be, and the rest of it is

10:46:49   18     not admissible.

10:46:50   19                  MR. SPIRO:   I have two responses to that.      The

10:46:52   20     first is, the reason Mr. Wood --

10:46:54   21                       The Court gave a different reason than

10:46:56   22     Mr. Wood's reason.     The Court's reason was:     Well, if he saw

10:46:59   23     it, and that his apology wasn't genuine.        Mr. Wood's stated

10:47:01   24     reason, I think he sort of half adopted that, but his stated

10:47:04   25     reason was to show what the people in the English language



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10:47:07    1     said.   Right?   It just --

10:47:10    2                   THE COURT:   Yeah, but I mean all --

10:47:12    3                   MR. SPIRO:   But as, Your Honor -- sorry.

10:47:15    4                   THE COURT:   But I mean, all the tweet says, unless

10:47:18    5     I'm misreading it is, it doesn't use the word "pedophile."

10:47:26    6     Just keeps saying "pedo."

10:47:26    7                   MR. WOOD:    Do you have Exhibit 212 --

10:47:26    8                   MR. SPIRO:   Well --

10:47:29    9                   THE COURT:   Wait a second.   I'm looking at 212,

10:47:31   10     I'm looking at Bates stamp 854.      What else should I be

10:47:35   11     looking at?

10:47:37   12                   MR. WOOD:    You're looking at the correct part of

10:47:39   13     the document.    That is a Google --

10:47:42   14                   THE COURT:   I missed the -- the headline.     Yeah.

10:47:48   15     And -- and --

10:47:57   16                        So, restate your objection.

10:47:58   17                   MR. SPIRO:   Sure.   So, now that the Court is

10:48:01   18     focused on --

10:48:02   19                   THE COURT:   And it is the -- it is the opinion of

10:48:04   20     someone from --

10:48:09   21                        You know, I don't know all these -- I hate to

10:48:18   22     admit my lack of -- of being current, but what is V-O-X?

10:48:31   23                   MR. WOOD:    Vox is a news media online around the

10:48:36   24     country and the world.

10:48:36   25                   THE COURT:   So, somebody at Vox wrote this thing,



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10:48:40    1     somebody we don't know about.

10:48:40    2                    MR. SPIRO:   Right.

10:48:46    3                    THE COURT:   And they put the headline up there.

10:48:48    4     Now, the body of it doesn't contain any further description

10:48:51    5     of "pedophile."     It's just -- the body just has "pedo."       And

10:48:57    6     some unknown person has concluded and headlined that "pedo"

10:49:04    7     means "pedophile."

10:49:06    8                         So, is there an objection?

10:49:07    9                    MR. SPIRO:   Of course, yes, Your Honor.

10:49:09   10                    THE COURT:   Sustained.   Okay.   We're in recess.

10:50:07   11                    (Recess taken.)

11:11:41   12                    (Following proceedings were held in the presence

11:11:51   13     of the jury.)

11:11:51   14                    THE COURT:   You may proceed.

11:11:53   15                    MR. WOOD:    Thank you, Your Honor.

11:11:54   16     BY MR. WOOD:

11:11:55   17     Q.      Mr. Musk, would you look at Exhibit 232 in the trial

11:12:01   18     notebook?

11:12:17   19     A.      Yes.

11:12:18   20     Q.      Is that your tweet of July the 11th, 2018?

11:12:26   21     A.      Yes.

11:12:28   22                    MR. WOOD:    I move to tender Exhibit 232 into

11:12:31   23     evidence, Your Honor.

11:12:39   24                    THE COURT:   Received.

11:12:41   25                    (Exhibit No. 232 received in evidence.)



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11:12:41    1     BY MR. WOOD:

11:12:42    2     Q.      On July the 11th, Mr. Musk, in your tweet, you were

11:12:49    3     reacting to the criticisms of YouTube.       True?

11:12:53    4     A.      Yes.

11:12:54    5     Q.      And you said:       "This reaction has shaken my opinion of

11:13:02    6     many people."

11:13:05    7     A.      Yes.

11:13:06    8     Q.      If you would look at Exhibit 90.

11:13:06    9     A.      Ninety.

11:13:53   10     Q.      Exhibit 90.

11:13:53   11                    MR. SPIRO:    There is an objection to this exhibit.

11:13:53   12                    THE COURT:    No objection.

11:13:53   13                    MR. SPIRO:    There is an objection.

11:13:57   14                    THE COURT:    So, lay a foundation.    I mean, along

11:14:01   15     the lines that we discussed.

11:14:02   16                    MR. SPIRO:    It would be an additional objection,

11:14:04   17     and 403 and other objections we would have.

11:14:06   18                    THE COURT:    Just let me look at it.

11:14:06   19     BY MR. WOOD:

11:14:08   20     Q.      Mr. Musk --

11:14:11   21                    THE COURT:    One moment.

11:14:12   22                    MR. SPIRO:    Hearsay, in addition.

11:14:16   23     BY MR. WOOD:

11:14:17   24     Q.      Mr. Musk --

11:14:19   25                    THE COURT:    One second.



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11:14:20    1                  MR. WOOD:    Oh, I'm sorry.

11:14:52    2                  THE COURT:    Can the parties answer my question

11:14:54    3     without controversy?      Can you do that?

11:14:59    4                        Who is Sam Teller?

11:15:03    5                  MR. WOOD:    The de facto chief of staff, as he

11:15:06    6     testified to, for like, four or five years, for Mr. Musk.

11:15:10    7                  THE COURT:    Approach the sidebar.

11:15:27    8                        (Sidebar conference.)

11:15:40    9                  THE COURT:    My impression is, as a starting point,

11:15:47   10     that it goes to the genuineness of the apology.

11:15:51   11                  MR. SPIRO:    That's what the Court has said a

11:15:53   12     couple of times.    I would just say this, one is, it's

11:15:56   13     obviously ranked, it's obviously ranked like textbook

11:16:00   14     hearsay.   It's from a subject line that says:       "From, ah,

11:16:04   15     another person, and then it's in quotes in the person.

11:16:08   16                  THE COURT:    It's not being offered for the truth

11:16:09   17     of --

11:16:12   18                        It's being offered for what his state of mind

11:16:13   19     is.

11:16:15   20                  MR. SPIRO:    Right.   But then it has all of this

11:16:18   21     prejudicial, misleading, confusing and unbelievably

11:16:23   22     prejudicial information.

11:16:25   23                  THE COURT:    Just one moment.

11:16:26   24                  MR. SPIRO:    Yeah.

11:16:44   25                        I have one further comment.



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11:16:59    1                   THE COURT:   Yeah.

11:17:00    2                   MR. SPIRO:   I mean, I can come up with

11:17:02    3     many quotes, like:     "To dump Tesla."    "Losing major backers."

11:17:07    4     "$10 million worth of stock."      "How much suffering went to

11:17:08    5     this person?"    "A really big bet for me."      "Suffering to that

11:17:11    6     person."

11:17:12    7                        Talking about yet again third parties.       He's

11:17:14    8     already testified --

11:17:15    9                   THE COURT:   I got that.

11:17:20   10                   MR. SPIRO:   May I just say one last thing?

11:17:20   11                   THE COURT:   Yes.

11:17:23   12                   MR. SPIRO:   He's already testified that he was

11:17:24   13     under pressure to change the apology because he was upset.

11:17:27   14     It has very little probative value to what he's already

11:17:32   15     said --

11:17:33   16                   THE COURT:   How about some questions from you

11:17:43   17     about whether after July 15, he was --

11:18:02   18                        Whether he was getting some feedback from

11:18:07   19     persons in his company, that the -- the publicity about the

11:18:12   20     tweet was causing some harm to the business.        You asked that

11:18:20   21     question --

11:18:20   22                   MR. WOOD:    No, not --

11:18:21   23                   MR. SPIRO:   I understand it's close to -- he

11:18:24   24     doesn't understand the rules of evidence.        He's going to just

11:18:26   25     start reading.



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11:18:28    1                   MR. WOOD:    I'm not --

11:18:28    2                   MR. SPIRO:   He's going to --

11:18:31    3                        He still has it in front of him.      He's going

11:18:33    4     to move it.

11:18:35    5                   MR. WOOD:    Ask him to move it.

11:18:38    6                   (In open court.)

11:18:40    7                   THE COURT:   Close the book.

11:18:52    8                   MR. WOOD:    May I proceed?

11:18:53    9                   THE COURT:   Yes.

11:18:54   10                   MR. WOOD:    Thank you.

11:18:55   11     BY MR. WOOD:

11:18:56   12     Q.      Mr. Musk, between the time of the publication in

11:19:03   13     Twitter of the statement "pedo guy," before your publication

11:19:08   14     on Twitter of the apology --

11:19:12   15                        You know what timeframe we're talking about

11:19:14   16     now?

11:19:15   17     A.      Yeah, a few days.

11:19:17   18     Q.      During that time period, sir, did anyone connected

11:19:23   19     with your company ever inform you that the "pedo guy" tweet

11:19:32   20     was creating issues in terms of its impact on Tesla stock?

11:19:40   21                   MR. SPIRO:   Objection, to "impact on stock."      The

11:19:42   22     rest of it --

11:19:44   23                   THE COURT:   He can ask the question that way.      He

11:19:46   24     can answer "yes" or "no."

11:19:50   25                   THE WITNESS:   I did receive some concerned notes



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11:19:53    1     from shareholders.     But it's a publically traded company.        So

11:19:57    2     the stock prices, I would say, no, at any given point in

11:20:00    3     time.

11:20:05    4     BY MR. WOOD:

11:20:05    5     Q.      Just a couple more, Mr. Musk.

11:20:13    6                         Do you acknowledge that even if you delete a

11:20:14    7     tweet, that the tweet remains available for others to tweet

11:20:19    8     or publish if they have taken a screen shot of your tweet?

11:20:26    9     A.      Yes.

11:20:29   10     Q.      You testified that you had never been asked before

11:20:35   11     your deposition about pedophilia.        Is that your testimony?

11:20:46   12     In connection --

11:20:48   13     A.      I'm not sure, if I -- I'm not sure --

11:20:51   14                         Are you asking if I've been asked about

11:20:54   15     pedophilia in general or --

11:20:55   16                         Can you --

11:20:56   17     Q.      About the "pedo guy" tweet.       Had you been asked about

11:21:00   18     pedophilia, related to the tweet about Mr. Unsworth, by

11:21:06   19     anyone before your deposition in August of 28, 2019?

11:21:13   20                    MR. SPIRO:   Objection.   By anyone?   By counsel?

11:21:16   21     It's too vague.

11:21:17   22                    MR. WOOD:    I'm sorry.   I'll rephrase it.

11:21:17   23     BY MR. WOOD:

11:21:23   24     Q.      Had you ever been asked by any member of the media or

11:21:28   25     on Twitter in relationship to your statement of "pedo guy"



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11:21:35    1     about whether you were referring to pedophilia, before your

11:21:43    2     deposition?

11:21:44    3     A.      It's possible that that occurred on Twitter,

11:21:46    4     somewhere.

11:21:55    5     Q.      You testified that you attended Stanford to start your

11:22:14    6     graduates studies.     True?

11:22:16    7     A.      I started there for two days.

11:22:18    8     Q.      Two days.    Thank you.

11:22:19    9                         My last question --

11:22:20   10                         I did not ask you this earlier in your

11:22:23   11     examination.    At the present time, today, would you give the

11:22:32   12     jury your best estimate as to your net worth?

11:22:42   13                   MR. SPIRO:   Objection.   Outside the scope.

11:22:45   14                   THE COURT:   Well --

11:22:45   15                   MR. SPIRO:   I didn't ask him questions about that.

11:22:47   16                   THE COURT:   It is outside the scope, but I'll

11:22:50   17     allow him to reopen for that brief purpose.

11:22:53   18                         I mean, we all know what the answer is going

11:22:58   19     to be, right?

11:22:58   20                   MR. SPIRO:   I do, Judge.

11:22:59   21                   THE COURT:   I mean, you know, so, let's have it so

11:23:03   22     everybody can write a headline tomorrow, okay?        They're all

11:23:09   23     anxious, you know.     We all know the answer, don't we?

11:23:12   24                   MR. SPIRO:   We do, so I'll sit down.

11:23:16   25                   THE COURT:   All right.



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11:23:16    1                       So, tell him what the answer is.

11:23:17    2                  THE WITNESS:   I own stock in SpaceX and Tesla.       I

11:23:22    3     have debt against that stock.      I don't have --

11:23:27    4                       So many people think that I have a lot of

11:23:30    5     cash.   I actually don't.     I have Tesla stock, SpaceX stock

11:23:35    6     and then debt against that stock.       And that value fluctuates

11:23:39    7     on a daily basis.

11:23:40    8     BY MR. WOOD:

11:23:41    9     Q.      Between what range at present?

11:23:42   10     A.      I actually don't know.

11:23:43   11     Q.      Do you -- do you believe that it's at least at or

11:23:49   12     possibly above, from your testimony in the deposition, of a

11:23:52   13     net worth of around $20 billion?

11:24:00   14     A.      I think with my SpaceX stock and Tesla stock combined,

11:24:03   15     it would probably amount to something like that.

11:24:06   16                  MR. WOOD:    Those are all the questions I have of

11:24:06   17     Mr. Musk on behalf of the plaintiff.

11:24:06   18                       Thank you, Your Honor.

11:24:08   19                  THE COURT:    Any redirect?

11:24:09   20                  MR. SPIRO:    No, Your Honor.

11:24:11   21                  THE COURT:    Thank you, Mr. Musk.

11:24:15   22                  THE DEFENDANT:    Thank you.

11:24:19   23                  THE COURT:    All right, who's the next witness?

11:24:27   24                  MR. WILSON:    Your Honor, the plaintiff would call

11:24:29   25     Mr. David Arnold by video deposition.



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11:24:33    1                  MR. SPIRO:    We have to approach on this just

11:24:35    2     because of some logistics and depo designations and

11:24:38    3     objection.

11:24:39    4                  MR. LIFRAK:    There is one objection to the

11:24:40    5     exhibit, Your Honor.

11:24:46    6                  THE COURT:    Is there someone else that we can call

11:24:48    7     before the lunch who is not subject of discussions, just to

11:24:51    8     keep things going?

11:24:54    9                       I mean, let's try and use up 35 minutes, and

11:24:57   10     then we'll save the lunch hour for discussion.

11:25:01   11                  MR. WOOD:    I can do that, Your Honor, with

11:25:03   12     Mr. Birchall.

11:25:04   13                  THE COURT:    Okay, let's get to Mr. Birchall.

11:25:08   14                  MR. WOOD:    So, at this time, Your Honor, we'd call

11:25:12   15     Jared Birchall.

11:26:03   16                  COURT CLERK:   Please raise your right hand.

11:26:06   17                       Do you swear or affirm that the testimony

11:26:06   18     you're about to give in the case now before this Court will

11:26:06   19     be the truth, the whole truth and nothing but the truth, so

11:26:15   20     help you God?

11:26:15   21                  THE WITNESS:   Yes.

11:26:16   22                  COURT CLERK:   Please be seated.

11:26:22   23                       Can you state your full name, and also spell

11:26:24   24     your full name for the record.

11:26:27   25                  THE WITNESS:   Full name is Jared John Birchall.



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11:26:30    1     J-A-R-E-D, J-O-H-N, B-I-R-C-H-A-L-L.

11:26:38    2                       WITNESS, JARED J. BIRCHALL, SWORN

11:26:38    3                               DIRECT EXAMINATION

11:26:38    4     BY MR. WOOD:

11:26:39    5     Q.        Mr. Birchall, we met at your deposition.

11:26:41    6     A.        Yes.

11:26:42    7     Q.        Nice to see you again.

11:26:45    8                          Could you give the jury the benefit of just a

11:26:47    9     summary of your background -- I don't want to go from high

11:26:53   10     school or college, but just in terms of your business

11:26:55   11     background and how you worked with Mr. Musk or any of his

11:27:01   12     companies.

11:27:01   13     A.        Sure.   So, upon graduation from college, I was hired

11:27:06   14     into the field of finance, and 17, 18 years into that career

11:27:13   15     was referred to Mr. Musk when he was looking to form a family

11:27:18   16     office.    A common acquaintance had referred me to him that

11:27:25   17     led to interviews, and approximately four years ago I was

11:27:29   18     hired to manage his family office.

11:27:30   19     Q.        And you have served in that capacity the last four

11:27:36   20     years up until today?

11:27:37   21     A.        Correct.

11:27:38   22     Q.        You still serve in that capacity.

11:27:40   23                          And what -- your -- your background before

11:27:43   24     that was in basically investment community?

11:27:46   25     A.        Correct.   Wealth management primarily.



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11:27:51    1     Q.       For who?

11:27:52    2     A.       Well, I was working at Morgan Stanley.

11:27:56    3     Q.       And you are, and at all times in July and August and

11:28:06    4     September of 2018, you were working under the control of Mr.

11:28:14    5     Musk as his agent and employee, true?

11:28:17    6     A.       True.

11:28:18    7                   MR. LIFRAK:    Objection.   Calls for a legal

11:28:20    8     conclusion.

11:28:25    9                   THE COURT:    I don't understand the objection.

11:28:27   10     What was the objection?

11:28:28   11                   MR. LIFRAK:    Calls for a legal conclusion, he

11:28:31   12     asked --

11:28:33   13                   THE COURT:    If he's an employee --

11:28:34   14                   MR. LIFRAK:    He was the agent.

11:28:36   15                   THE COURT:    Oh, agent.    I missed that.   I don't

11:28:40   16     know, "agent" is a term of art and a legal conclusion.         He

11:28:45   17     is --

11:28:45   18                         You are an employee, correct?

11:28:48   19                   THE WITNESS:   I am an employee.

11:28:50   20                   THE COURT:    All right, leave the agency alone for

11:28:53   21     a while.

11:28:54   22                   MR. WOOD:    Do I need to restate the question, Your

11:28:57   23     Honor?

11:28:57   24                   THE COURT:    He's an employee of Mr. Musk.

11:28:58   25     BY MR. WOOD:



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11:28:58    1     Q.      And during that time period as an employee of Mr.

11:29:01    2     Musk, you recognize that Mr. Musk would tell you what to do

11:29:06    3     or not to do because you were to follow the orders of the

11:29:09    4     boss, Mr. Musk.     True?

11:29:11    5     A.      I mean, there's certainly times when he would

11:29:16    6     specifically direct me to do things, though, he expected me

11:29:22    7     to act on my own during much of time as well.

11:29:26    8     Q.      Yes.    But during that entire time while you may act on

11:29:30    9     things alone, if Mr. Musk gave you an instruction on what to

11:29:34   10     do or not to do, as his employee, you understood that you

11:29:38   11     were to follow the orders of Mr. Musk, true?

11:29:40   12     A.      True.

11:29:46   13     Q.      Could you look, if you would --

11:29:48   14                         You're new to the courtroom.    There is a

11:29:51   15     binder of exhibits.     I'd like you to look at Exhibit 36.

11:30:16   16     A.      Exhibit 36.

11:30:17   17     Q.      Exhibit 36.

11:30:39   18     A.      I see Exhibit 36 -- is that --

11:30:39   19                    MR. SPIRO:   There are other binders.

11:30:40   20                    THE WITNESS:   Oh.   Am I in the right binder here?

11:30:44   21     Oh, this is Elon Musk Cross-Examination.        I think, another

11:30:57   22     place --

11:30:59   23                    COURT CLERK:   Exhibit 36 is placed before the

11:31:01   24     witness.

11:31:01   25                    THE WITNESS:   I'm looking at it.



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11:31:01    1     BY MR. WOOD:

11:31:10    2     Q.      Is that a true and correct copy of a nondisclosure

11:31:13    3     agreement between James Howard or Jupiter Investigations and

11:31:24    4     Excession LLC, that you executed on behalf of Excession LLC?

11:31:35    5     A.      Yes, it is.

11:31:49    6                    MR. WOOD:    Would you pull that up?

11:31:49    7                    (Exhibit published.)

11:31:50    8                    THE COURT:    It's not in evidence yet.

11:31:51    9                    MR. WOOD:    Oh, I'm sorry.   Ask to admit Exhibit 36

11:31:55   10     into evidence, Your Honor.

11:31:55   11                    MR. LIFRAK:   No objection.

11:31:56   12                    THE COURT:    Received.

11:31:57   13                    (Exhibit No. 36 received in evidence.)

11:32:00   14     BY MR. WOOD:

11:32:00   15     Q.      At the top of that exhibit is an e-mail, right?

11:32:03   16     A.      Yes.

11:32:04   17     Q.      Where you are sending back to Mr. Howard a signed copy

11:32:12   18     of the agreement, the nondisclosure agreement.        Correct?

11:32:17   19     A.      Correct.

11:32:17   20     Q.      And you sent the e-mail from JaredBirchall@gmail.com

11:32:30   21     on behalf of James Brickhouse, true?

11:32:36   22     A.      I see that.

11:32:36   23     Q.      It's there?

11:32:37   24     A.      It is.

11:32:38   25     Q.      You didn't sign the nondisclosure agreement under the



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11:32:41    1     name of James Brickhouse, did you?

11:32:45    2     A.      No.

11:32:45    3     Q.      Because you recognize it needed the official signature

11:32:49    4     of the office manager to be enforceable, true?

11:32:52    5     A.      Sure, yeah, yes.

11:33:13    6     Q.      And looking down to the e-mail that you were

11:33:15    7     responding to when you sent the e-mail to Mr. Howard, he had

11:33:23    8     sent you an e-mail in which he stated:       "The UK end it --

11:33:23    9                   (Discussion held off the record.)

11:33:23   10     BY MR. WOOD:

11:33:46   11     Q.      "The UK end it quite straightforward.       But if there

11:33:50   12     are any skeletons in the cupboard, they are more likely to be

11:33:56   13     in Thailand which is where I will center the investigation."

11:34:00   14                         He wrote you that in his e-mail, didn't he?

11:34:03   15     A.      Yes.

11:34:20   16     Q.      If you look at the first paragraph of the

11:34:23   17     nondisclosure agreement, under the portion "confidentiality,"

11:34:31   18     without going through all of the different individuals, would

11:34:35   19     you agree that the purpose of the nondisclosure agreement was

11:34:40   20     to prevent Mr. Howard from conveying to any third party any

11:34:46   21     information about Mr. Musk, his family, his friends, his

11:34:52   22     business associates, or his, in effect, companies?

11:34:57   23     A.      Yes.

11:34:58   24     Q.      Had you -- had you ever --

11:35:11   25                         I didn't ask this.   You hired Mr. Howard for



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11:35:15    1     Excession on August the 15th, 2018.       True?

11:35:19    2     A.      Yeah, I think it was formalized on the 16th, but yes.

11:35:24    3     Q.      But the agreement was struck on the 15th, formalized

11:35:30    4     on the 16, right?

11:35:32    5     A.      Yes.

11:35:32    6     Q.      And you were asked by Mr. Musk to be in charge of the

11:35:35    7     Howard -- I'll call it the Howard investigation, true?

11:35:38    8     A.      True.

11:35:38    9     Q.      Prior to that date, in any of your work experience,

11:35:42   10     had you ever been in charge of an investigation such as the

11:35:50   11     one that you were asked to be in charge of over James Howard?

11:35:54   12     A.      No.

11:35:54   13     Q.      Never happened before.

11:35:56   14     A.      Never.

11:35:58   15     Q.      Am I right that other than your return of the MDA,

11:36:05   16     executed by you, Jared Birchall, that every communication

11:36:13   17     thereafter between you and Mr. Howard was undertaken solely

11:36:19   18     under the name of Jim Brickhouse?

11:36:24   19     A.      Thereafter, the intention was, yes, though there was

11:36:27   20     one e-mail that was not.

11:36:29   21     Q.      Which one was that?

11:36:31   22     A.      There was an e-mail that I mistakenly sent from my

11:36:38   23     personal name.

11:36:39   24     Q.      And you recognized after you realized you've done

11:36:41   25     it -- it was a mistake, you intended to send it under the



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11:36:44    1     name of Jim Brickhouse, right?

11:36:48    2     A.      I did.

11:36:48    3     Q.      And I believe you tell us --

11:36:51    4                        You came up with the name Jim Brickhouse.

11:36:55    5     A.      I did.

11:36:56    6     Q.      Not Mr. Musk.

11:36:58    7     A.      True.

11:36:58    8     Q.      Was he aware that you were using an pseudonym or I

11:37:02    9     guess a fake name to deal with Howard?

11:37:05   10     A.      No.

11:37:05   11     Q.      You did it to, in your own judgment, as head of the

11:37:09   12     investigation of -- conducted by Howard, you wanted to

11:37:13   13     distance Mr. Howard's investigation from Elon Musk, true?

11:37:22   14     A.      True.    That was part of the reason.

11:37:25   15     Q.      What other part was there other than that?

11:37:26   16     A.      Well, the center of everything I do is focused on

11:37:29   17     confidentiality and privacy, and this was -- I'd used this

11:37:35   18     alias for other matters involving his personal travel with

11:37:39   19     his boys, involving the purchase of the web domain names,

11:37:43   20     among other things, helping a Libyan refugee, and I figured

11:37:47   21     that this was among those things that I should take extra

11:37:51   22     discretion with.

11:37:54   23     Q.      To protect the interest of Mr. Musk and his family and

11:37:59   24     his corporations, true?

11:38:01   25     A.      True.



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11:38:04    1     Q.      So, you'd use "Jim Brickhouse," in other similar

11:38:08    2     matters.    How did you come up with the name Jim Brickhouse?

11:38:12    3     A.      I don't recall.

11:38:13    4     Q.      But what you do recall is that with respect to

11:38:17    5     Mr. Howard, despite the one mistake you indicated and e-mail

11:38:20    6     sent from your personal account, that you wanted James Howard

11:38:24    7     to, in his state of mind, I guess, you wanted to have him

11:38:29    8     believe that he was dealing with two different people, Jared

11:38:36    9     Birchall that signed the agreement and somebody named Jim

11:38:40   10     Brickhouse who was conducting the communications on the

11:38:43   11     investigation on behalf of Mr. Musk, right?

11:38:46   12     A.      Correct.    My initial call to him was as Jared

11:38:51   13     Birchall.   The agreement was signed as Jared Birchall, and

11:38:54   14     thereafter the correspondence was meant to be in the name of

11:38:58   15     James Brickhouse.

11:38:59   16     Q.      So, Mr. Howard would believe that there was a second

11:39:03   17     individual involved named James Brickhouse.

11:39:07   18     A.      Yes.

11:39:07   19     Q.      Even though the truth is, it was you and

11:39:09   20     Mr. Brickhouse one and the same person, true?

11:39:13   21     A.      True.

11:39:14   22     Q.      At the time you formerly retained Mr. Howard on behalf

11:39:20   23     of Mr. Musk, the family corporation, what did you know about

11:39:27   24     his prior investigative experience?

11:39:33   25     A.      Well, the request to reach out to Mr. Howard was given



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11:39:39    1     to me from a trusted colleague, Mr. Sam Teller.        He came to

11:39:48    2     me with the name and number, asked me to reach out to him,

11:39:51    3     indicating that Mr. Howard had reached out with information.

11:39:54    4                        I then did call Mr. Howard, and he shared

11:39:57    5     that he had prior experience working with British Special

11:40:02    6     Forces, that he had worked for other high net worth

11:40:06    7     individuals, that he had worked on other high level events

11:40:09    8     throughout the world, and seemed to be a valid investigator.

11:40:47    9     Q.      I might ask you to look at Exhibit 62 either on the

11:40:52   10     screen or in the notebook, Mr. Birchall.

11:41:11   11                        When you just -- when you just referred to

11:41:14   12     the information about looking into Mr. Howard that you

11:41:19   13     received from Sam Teller, right?

11:41:21   14     A.      Correct.

11:41:22   15     Q.      Okay, you got this e-mail from Mr. Teller inquiring

11:41:27   16     about James Howard that contains Mr. Howard's initial or one

11:41:33   17     of his initial attempts to reach out to Mr. Musk, did you --

11:41:38   18     A.      No.

11:41:39   19                   MR. LIFRAK:    Objection.   No foundation.

11:41:41   20                   THE COURT:    Let me have the question again, I'm

11:41:43   21     sorry, I missed that.       What was the question?

11:41:55   22     BY MR. WOOD:

11:41:55   23     Q.      Did Mr. Teller or anyone at SpaceX or Tesla or Mr.

11:42:01   24     Musk, office, provide you with the e-mail from Mr. Howard of

11:42:05   25     July 17th, that he had sent to -- I'm going to mess this up



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11:42:15    1     -- Reyna Ortiz?

11:42:18    2     A.        No.

11:42:41    3                     MR. WOOD:    May I step away for just a moment, Your

11:42:44    4     Honor?

11:42:44    5                     THE COURT:   Yes.

11:42:45    6                     (Discussion off the record.)

11:42:48    7                     MR. WOOD:    Your Honor, if you would indulge me

11:42:50    8     moment, Mr. Wilson is going to find a number for me.

11:42:50    9                     THE COURT:   All right.

11:43:48   10                     MR. WOOD:    And I'll try to move along if you'll

11:43:50   11     get that number for me.

11:43:53   12                          I'll move on and come back to get that

11:43:57   13     number.

11:43:59   14     BY MR. WOOD:

11:44:00   15     Q.        Mr. Birchall, you will tell us that Mr. Musk was

11:44:06   16     informed of your hiring of James Howard, true?

11:44:11   17     A.        Yes, I believe so.     I don't recall the moment, but

11:44:14   18     yes, I would have at some point.          But I didn't know that.

11:44:25   19     Q.        I'm going to try to go off memory for a minute.

11:44:29   20     A.        Okay.

11:44:29   21     Q.        Mr. Howard had sent an e-mail offering his services to

11:44:34   22     an Elon Musk e-mail address, and he stated that he had been

11:44:41   23     involved in the past with UK Special Forces, right?

11:44:46   24     A.        He did.

11:44:47   25     Q.        He said in his e-mail that he had in the past worked



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11:44:52    1     for Paul Allen who was obviously one of the founders or

11:44:58    2     principal owners of Microsoft?

11:45:03    3     A.       Yes.

11:45:03    4     Q.       He said that he had been involved in the past working

11:45:08    5     for George Soros, right?

11:45:13    6     A.       Correct.

11:45:14    7     Q.       And you essentially looked at that information from

11:45:17    8     Mr. Howard and you accepted it as, essentially, true, and

11:45:23    9     qualified him to conduct the investigation, true?

11:45:26   10     A.       That information was -- most of the information

11:45:33   11     regarding those matters were provided to me in phone

11:45:36   12     conversations with Mr. Howard; and after Sam Teller, trusted

11:45:40   13     colleague, brought me his name and number, Mr. Howard

11:45:44   14     provided a credible background, I did trust that he was a

11:45:47   15     qualified investigator, yes.

11:45:48   16     Q.       And just one other question on that subject.       You

11:45:51   17     accepted it, but you will tell us that you did not try to

11:45:55   18     reach out to the Paul Allen family or to the Soros family or

11:46:01   19     to anybody in the UK to find out if it was in fact true; am I

11:46:06   20     right?

11:46:06   21     A.       I did not reach out to those individuals.

11:46:08   22     Q.       May I have the exhibit number?

11:46:15   23                          Would you look at Exhibit 66, please, sir?

11:46:19   24                     MR. WOOD:   If it is not, we'll put it in evidence.

11:46:19   25     BY MR. WOOD:



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11:46:38    1     Q.      Do you have Exhibit 66 in front of you?

11:46:42    2     A.      Yes, I do.

11:47:05    3     Q.      Is Exhibit 66 a true and correct copy of an e-mail

11:47:09    4     exchange between you under the name of James Brickhouse and

11:47:16    5     Mr. Howard?

11:47:18    6     A.      Yes, I believe so.

11:47:21    7                   MR. WOOD:    I tender Exhibit 66 into evidence on

11:47:24    8     behalf of the plaintiffs, Your Honor.

11:47:27    9                   MR. LIFRAK:    No objection.

11:47:28   10                   THE COURT:    Received.

11:47:30   11                   (Exhibit No. 66 received in evidence.)

11:47:45   12     BY MR. WOOD:

11:47:45   13     Q.      On August the 28th of 2018, in your e-mail to Mr.

11:47:55   14     Howard, you stated:       "We would like to immediately move

11:48:02   15     forward with 'leaking' this information to the UK press.

11:48:09   16     Obviously must be done very carefully."

11:48:13   17                         Have I read that correctly?

11:48:14   18     A.      You have.

11:48:15   19     Q.      And because Mr. Howard knew that he working on behalf

11:48:18   20     of Mr. Musk, the use of "we," you were referring to yourself,

11:48:22   21     Mr. Brickhouse, and Elon Musk.      True?

11:48:26   22     A.      Yes, it was a collected "we."

11:48:33   23     Q.      And then if you look beyond that, you suggested in

11:48:37   24     your e-mail what, in fact, you all, felt should be the

11:48:43   25     information leaked to the UK press about Mr. Unsworth.         True?



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11:48:52    1     A.      Not to be leaked to the press but to be provided to

11:48:55    2     the press to encourage investigative journalism.

11:49:03    3     Q.      And what you were asking to look at in your line of

11:49:06    4     thinking is contained in the next five bullet points.

11:49:11    5     A.      Yes.

11:49:11    6     Q.      The idea being that Thailand was the world capital of

11:49:15    7     pedophilia, right?

11:49:17    8     A.      Yes.

11:49:17    9     Q.      And Mr. Unsworth supposedly had frequented Thailand

11:49:22   10     since the 1980s.

11:49:25   11     A.      Yes.

11:49:26   12     Q.      Leading to the divorce to his wife in the United

11:49:32   13     Kingdom, right?

11:49:33   14     A.      Yes.

11:49:35   15     Q.      That under the guise of cave exploration, albeit,

11:49:42   16     creative, because of the amazing extensive caving systems in

11:49:48   17     Thailand, around the world, not just in Thailand, you said:

11:49:52   18     "Even the most ardent supporter of Thai food doesn't eat Thai

11:49:57   19     food every day."    Right?

11:49:59   20     A.      Correct.

11:49:59   21     Q.      And then you said:     "He eventually" -- and it doesn't

11:50:07   22     say -- "eventually woman 30 years his minor, whom he met

11:50:12   23     while she was a teenager."      Right?

11:50:16   24     A.      Yes.

11:50:16   25     Q.      And then you had the last bullet point:       "He had been



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11:50:20    1     going to Thailand for decades before marrying her.         She

11:50:24    2     wasn't the first girl he met, and definitely not the first

11:50:28    3     teenager he interacted with."      Right?

11:50:35    4     A.      Yes.

11:50:36    5     Q.      And then you said to him:      "Share the facts.      And as

11:50:41    6     you said, that should be enough for a story."        Right?

11:50:49    7     A.      Yes.

11:50:49    8     Q.      At that time, on August the 28th, you knew that --

11:50:55    9     your words, not mine -- absolutely none of the information

11:51:01   10     that Mr. Howard had provided to you had been verified or

11:51:05   11     confirmed as accurate and true.      Isn't that right?

11:51:10   12     A.      Incorrect.

11:51:11   13     Q.      Tell me how what's incorrect?

11:51:13   14     A.      I believed him to be a credible investigator, and he

11:51:20   15     had provided a lot of information.       These were some

11:51:20   16     high-level bullet points based on my understanding of the

11:51:25   17     information he had provided.

11:51:28   18                       I clearly said:    Share these facts.       I

11:51:30   19     understood these things to be facts and encouraged in my

11:51:32   20     request to him was to share facts, which he then did,

11:51:36   21     slightly modified some of these bullet points and did share

11:51:40   22     under the directive of sharing facts.       So, I indeed believed

11:51:44   23     that this was correct information.

11:51:46   24     Q.      "Correct information," meaning correct, that he had

11:51:49   25     provided you in some form that information, but you did not



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11:51:59    1     know whether it was correct and accurate in the sense of

11:52:03    2     whether it was actually true and correct as to Vernon

11:52:08    3     Unsworth.   True?

11:52:09    4     A.      I believed that it was true and correct.        He was a

11:52:11    5     professional investigator.      This was his wheelhouse, and I

11:52:17    6     was relying upon him to do his job.

11:52:45    7                  MR. WOOD:    May I have one second, Your Honor, to

11:52:45    8     get an exhibit number.

11:52:47    9                         I'm getting those exhibit numbers, Judge.

11:52:48   10     Thank you for bearing with me.      If I get those, I'll be able

11:52:52   11     to conclude, I believe, the examination of Mr. Birchall after

11:52:57   12     I get these two exhibits into evidence.

11:52:58   13     BY MR. WOOD:

11:53:15   14     Q.      Would you take a look, please, at -- in the trial

11:53:18   15     notebook, not on the screen -- Exhibit 72?

11:53:48   16     A.      I have it.

11:53:49   17     Q.      Is 72 a true and correct copy of an e-mail exchange

11:54:04   18     between you and Mr. Howard?

11:54:12   19     A.      Yes, I believe so.

11:54:15   20                  MR. WOOD:    I tender Exhibit 72 into evidence on

11:54:18   21     behalf of the plaintiff.

11:54:19   22                  THE COURT:   Received.

11:54:20   23                  (Exhibit No. 72 received in evidence.)

11:54:37   24     BY MR. WOOD:

11:54:38   25     Q.      And if you would now look, Mr. Birchall, at Exhibit



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11:54:48    1     67.

11:55:06    2                        Have you had a chance to look at Exhibit 67?

11:55:09    3     A.        Yes, I have it here in front of me.

11:55:20    4     Q.        Exhibit 67, does that represent true and correct

11:55:25    5     copies of text exchanges that you had with Mr. Howard between

11:55:30    6     August the 24th and October the 2nd of 2018?

11:55:36    7                   MR. LIFRAK:   Objection, Your Honor.    Some of these

11:55:39    8     text messages go past the end of August and would violate the

11:55:46    9     Court's rulings.

11:55:47   10                   THE COURT:    Well, then, if that's the only

11:55:49   11     objection, I'll sustain the objection up to that date.

11:55:54   12                   MR. LIFRAK:   No, it's not -- it's the content of

11:55:56   13     them --

11:55:57   14                   THE COURT:    I understand --

11:55:59   15                   MR. LIFRAK:   Could we approach.    It's on an issue

11:56:00   16     that we discussed before?

11:56:00   17                   THE COURT:    All right, you can approach.

11:56:27   18                  (Sidebar conference.)

11:56:27   19                   MR. WOOD:    Judge, I'll withdraw that portion of

11:56:29   20     it.   It goes past September the 1st.

11:56:34   21                   THE COURT:    There seems to be a more basic

11:56:36   22     objection.

11:56:38   23                   MR. SPIRO:    There's tons of information in

11:56:40   24     there --

11:56:41   25                   THE COURT:    Here is what I'm missing.    It seems to



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11:56:44    1     me that Birchall was of the state of mind of what he did

11:56:56    2     isn't relevant.    I mean, unless it was communicated to Musk,

11:57:02    3     and so that was some of the central positioning of the

11:57:10    4     defense.

11:57:10    5                  MR. SPIRO:   Hundred percent.

11:57:11    6                  THE COURT:   I didn't hear an objection until now.

11:57:14    7                  MR. SPIRO:   Well, again, we're trying to walk the

11:57:17    8     line between --

11:57:18    9                  THE COURT:   I know, but -- but that's my view.

11:57:21   10     And unless there is -- unless there is -- the questions that

11:57:27   11     might be relevant, okay, are not what Birchall communicated

11:57:31   12     to Howard but what Birchall may or may not have said to Musk.

11:57:37   13                  MR. SPIRO:   So, then we don't think --

11:57:39   14                  THE COURT:   I sustained the objection.

11:58:49   15                  (In open court.)

11:58:49   16     BY MR. WOOD:

11:59:16   17     Q.      Would you look at 72 that is in evidence.

11:59:18   18                       Can you pull that up, please?

11:59:40   19                       Mr. Birchall, on August the 25th of 2018, you

11:59:52   20     informed Mr. Howard in your role as the head of the

11:59:58   21     investigation for Mr. Musk that upon a successful

12:00:05   22     confirmation of a nefarious behavior by Mr. Unsworth that he

12:00:13   23     would receive an additional $10,000 bonus, true?

12:00:19   24     A.      True.

12:00:19   25     Q.      And when you communicated that to Mr. Howard on August



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12:00:24    1     the 25th, you finished by saying:          "Timing is important, as

12:00:31    2     you know.    Preferably in the next 36 to 48 hours."       Right?

12:00:42    3     A.      Yes.

12:00:49    4     Q.      On October the 2nd, you informed Mr. Howard -- October

12:00:58    5     the 2nd, 2018, you informed Mr. Howard to go back and review

12:01:03    6     the information he had provided, aside from the initial

12:01:08    7     input, and you told him:       "You've just about given us

12:01:13    8     nothing, and you have given exactly nothing verified."         True?

12:01:19    9     A.      True.    I wrote that.

12:01:21   10                    MR. WOOD:    That completes the examination of Mr.

12:01:25   11     Birchall on behalf of Vernon Unsworth, Your Honor.

12:01:29   12                    THE COURT:    Lawyers, the court reporter says you

12:01:31   13     have to identify themselves.       There are so many lawyers here.

12:01:35   14     Just say, you know, who you are, I mean.         If it's someone

12:01:44   15     other than.

12:01:55   16                    MR. LIFRAK:    Michael Lifrak.

12:01:57   17                         Your Honor, would it be possible to take a

12:01:58   18     lunch break?     I think I could cut it down.

12:02:02   19                    THE COURT:    What time is it now?

12:02:06   20                    COURT CLERK:    A couple of minutes after noon.

12:02:08   21                    THE COURT:    Oh, it is.    All right, we'll take the

12:02:13   22     lunch break.

12:02:14   23                         I may have a couple of things to take up with

12:02:16   24     the lawyers.     So, how about if I give you until 1:15?      Is

12:02:23   25     that okay?     All right.     Thank you.



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12:03:01    1                   (Following proceedings held outside the presence

12:03:01    2     of the jury.)

12:03:01    3                   THE COURT:   So, what should I be thinking about

12:03:04    4     instead of eating lunch today?      What problems are on the

12:03:10    5     horizon?   I know there is the witnesses that we mentioned

12:03:14    6     yesterday, if I remember their names --

12:03:20    7                   MR. WOOD:    Mr. Stanton and Mr. Ellis.

12:03:22    8                        And here is the issue arising from that

12:03:24    9     discussion.    Upon reflexion last night, in terms of how to

12:03:31   10     proceed, in light of the objection and the Court's stated

12:03:35   11     comments, which were legitimate, we decided not to bring

12:03:40   12     Martin Ellis.    We're only going to bring Rick Stanton.

12:03:44   13                        The problem that created is a gap in the

12:03:47   14     witness.   I had planned to use tomorrow Sam Teller, who is

12:03:50   15     under subpoena.    And now when I finish my case, I still need

12:03:55   16     Sam Teller.

12:03:56   17                        Mr. Spiro has said that he doesn't want us --

12:04:02   18     and I understand -- he doesn't want us to use him by

12:04:06   19     deposition.    He wants us to bring him live.      And so that

12:04:10   20     would require his agreement, and he's given it, and with the

12:04:13   21     Court's approval, that I be allowed to take Sam Teller out of

12:04:18   22     order.   In other words, not rest my case but keep it open

12:04:22   23     until tomorrow, I can examine Mr. Teller.

12:04:26   24                   THE COURT:   All right.

12:04:27   25                   MR. SPIRO:   Not an issue.



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12:04:29    1                  MR. WOOD:    I'm sorry?

12:04:30    2                  THE COURT:   So, that's agreed upon.

12:04:33    3                  MR. WOOD:    With your approval.

12:04:35    4                  THE COURT:   Yes.

12:04:35    5                  MR. WOOD:    The only other issue, and it can be

12:04:38    6     done now that Mr. Musk is gone, it's not a matter of going

12:04:41    7     back to him, but I would like an opportunity, Your Honor,

12:04:44    8     before --

12:04:47    9                        At the time period that you believe is

12:04:50   10     appropriate, I have a very brief proffer of evidence to make.

12:04:52   11                  THE COURT:   I want you to have that opportunity,

12:04:54   12     and I thought you wanted to make a proffer regarding the

12:05:00   13     question to Mr. Musk:     Would he hire someone who's a

12:05:09   14     pedophile?

12:05:09   15                        Is that the subject?

12:05:12   16                  MR. WOOD:    It is, and that question, and one more

12:05:16   17     that I wanted to make a proffer, because it's relevant to the

12:05:17   18     issue of damage.

12:05:18   19                  THE COURT:   All right, then, why don't you, if you

12:05:20   20     can, make that complete proffer now if you wish.

12:05:23   21                  MR. WOOD:    Thank you, Your Honor.

12:05:25   22                        I proffer that Mr. Musk in response to the

12:05:28   23     question of:    Would you hire a pedophile at Tesla?       Would

12:05:34   24     testify:    No, under no circumstances.

12:05:37   25                        I would then ask him whether Tesla or any



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12:05:40    1     other corporation that he's in charge of would hire as an

12:05:44    2     employee an individual to whom Mr. Musk or his company had

12:05:55    3     received information from a reliable source that the person

12:05:59    4     under consideration had been accused or there were rumors

12:06:05    5     that the person was a pedophile?      And I believe he would say:

12:06:15    6     I would not hire him until the company verified whether the

12:06:18    7     rumors or accusations were true or not, because we would not

12:06:22    8     want anyone in our companies to be working with a potential

12:06:27    9     pedophile.

12:06:27   10                       That I believe goes to damage as well as Mr.

12:06:33   11     Musk's state of mind as to the impact of "pedo" or

12:06:40   12     "pedophilia" upon Mr. Unsworth.

12:06:42   13                       That concludes my proffer, Your Honor.

12:06:43   14                  MR. SPIRO:   Just very briefly.     Three things:    One

12:06:46   15     is, they're not seeking business damages, they're not seeking

12:06:49   16     loss of jobs, that's not one of the damages they're seeking,

12:06:52   17     so it becomes wholly irrelevant.

12:06:55   18                       Second is, even if they were, it's a 701, 702

12:06:59   19     issue.   He's not any sort of expert on --

12:07:04   20                  THE COURT:   Who's "he"?

12:07:05   21                  MR. SPIRO:   "He" meaning Mr. Musk.     On the

12:07:07   22     hirability of a person in that circumstance.

12:07:09   23                       And then third is, it's just misleading

12:07:12   24     because it blurs this sort of fact/opinion distinction, and

12:07:17   25     we would have been going back and forth, even if he had asked



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12:07:21    1     that question for 30 minutes of:       Okay, well, if you knew

12:07:23    2     someone for a fact was committing the crime of pedophilia, of

12:07:28    3     course you wouldn't hire them.      And no one is going to argue

12:07:28    4     otherwise to the jury.

12:07:30    5                        But if someone had been called an insult of

12:07:32    6     pedophilia, have been referred to as "pedo guy, would you

12:07:35    7     still hire them?    And he would have said yes.

12:07:37    8                        And so we've moved the ball not one inch.

12:07:43    9                  THE COURT:   I would see you, let's say 1:05, okay?

12:07:50   10                  MR. WOOD:    Yes, Your Honor.

12:07:51   11                  COURT CLERK:   All rise.

           12                  (Noon recess.)

           13                  (Reporters switched.)

           14                                    ~ ~ ~

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 1                            C E R T I F I C A T E

 2     I hereby certify that the foregoing is a true and correct

 3     transcript of the stenographically recorded proceedings in

 4     the above matter.

 5     Fees charged for this transcript, less any circuit fee

 6     reduction and/or deposit, are in conformance with the

 7     regulations of the judicial conference of the united states.

 8

 9

10     /S/Anne Kielwasser
                                                  12/04/2019
11     Anne Kielwasser, CSR, RPR                 Date
       Official Court Reporter
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